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                                                                                                    Ross Cameron
                                                                                                          3/14/2023

 1          UNITED STATES DISTRICT COURT                      1 APPEARANCES:
 2          SOUTHERN DISTRICT OF FLORIDA                      2
 3                                                            3 For Plaintiff:
 4 SECURITIES AND EXCHANGE )                                  4    UNITED STATES SECURITIES AND EXCHANGE COMMISSION
   COMMISSION,                 )                                   BY: ALISE JOHNSON, ESQ.
 5                    )                                       5       ALICE SUM, ESQ.
         Plaintiff,      )                                         801 Brickell Avenue, Suite 1950
 6                    )                                       6    Miami, Florida 33131
         vs.            ) CASE NO.:                           7
 7                    ) 1:21-CV-21079-Bloom/Otazo-Reyes         For the Defendant Gentile:
   MINTBROKER INTERNATIONAL, )                                8
 8 LTD., f/k/a SWISS AMERICA )                                     FORD O'BRIEN LANDY, LLP
   SECURITIES LTD. and d/b/a )                                9    BY: STEPHEN R. HALPIN III, ESQ.
 9 SURETRADER, and GUY              )                              275 Madison Avenue, Floor 24
   GENTILE, a/k/a GUY GENTILE )                              10    New York, NY 10016
10 NIGRO,                  )                                 11
                      )                                         For the witness:
11       Defendants.         )                               12
   ____________________________)                                   PAUL HASTINGS
12                                                           13    BY: NICHOLAS MORGAN, ESQ.
13                                                                 515 S. Flower Street, 25th Floor
14                                                           14    Los Angeles, CA 90071
15 REMOTE VIDEOTAPED DEPOSITION OF ROSS PIERCE CAMERON       15
16                  VIA WEBEX                                   Also appearing:
17            Tuesday, March 14, 2023                        16    "guy"
18                                                           17
19                                                              Videographer: Nancy Holmstock
20                                                           18
21                                                           19
22                                                           20
23                                                           21
   Reported by:                                              22
24 Diane M. Bolan,                                           23
   CSR No. 12883                                             24
25 Job No. 230314DBO                                         25

                                1                                                       3

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 1       Webex Proceedings, Tuesday, March 14, 2023             1   You can't shake your head or shake your finger. That
 2          2:14 p.m. (ET) - 6:04 p.m. (ET)                     2   won't make it in the record.
 3                                                              3           If I ask you a question that you don't
 4            THE VIDEOGRAPHER: We are on the record.           4   understand, please tell me, and I'll try to do a better
 5   This is the recorded deposition of Ross Cameron on         5   job of explaining it. And as we discussed earlier, if
 6   behalf of Warrior Trading in the matter of Securities      6   you need to take a break, just let me know.
 7   and Exchange Commission versus MintBroker                  7           I just have a few preliminary questions.
 8   International, LTD., et al., case number 1:21-CV-21079.    8           Have you taken any medicines or drugs that
 9   This deposition is being held remotely by Webex            9   would affect your memory or otherwise affect your
10   videoconferencing.                                        10   ability to testify today?
11            Today's date is March 14th, 2023. The time       11      A. No.
12   is now 2:14 p.m. My name is Nancy Holmstock, video        12      Q. Do you suffer from any medical conditions or
13   specialist with Gradillas Court Reporters, located at     13   other issues that are similar that might affect your
14   400 North Brand Avenue, Suite 950, Glendale,              14   ability to testify today?
15   California 91203.                                         15      A. No.
16            Will counsel and all present please              16      Q. And what is your current address?
17   identify yourselves for the record, followed by the       17      A. 50 East Road in Stockbridge, Mass 01266.
18   court reporter swearing in the witness.                   18      Q. And how long have you resided in the United
19            MISS JOHNSON: Good afternoon, or morning,        19   States?
20   depending on where you are, Alise Johnson for the SEC,    20      A. My whole life.
21   and I have with me Alice Sum, who is co-counsel in this   21      Q. Have you ever been deposed before?
22   matter.                                                   22      A. No.
23            MR. HALPIN: For defendant Guy Gentile,           23      Q. Have you ever been a defendant in a criminal
24   Steven Halpin from Ford O'Brien Landy, LLP. My            24   matter?
25   colleague, Adam Ford as joined. He may be in and out.     25      A. No.

                              5                                                             7

 1   My colleagues Matthew Ford and Cara Filippelli may join    1      Q. Have you ever been the plaintiff or a
 2   later.                                                     2   defendant in a civil matter?
 3           MR. MORGAN: This is Nick Morgan from Paul          3      A. I believe the answer to that is yes.
 4   Hastings on behalf of the witness, Ross Cameron,           4         Is that correct, Nick?
 5   appearing for Warrior Trading. I'm sure Mr. Cameron        5         MR. MORGAN: That's correct.
 6   will introduce himself as he takes the oath.               6      Q. BY MISS JOHNSON: Okay. Can you tell me
 7           THE COURT REPORTER: And my name is Diane           7   about that? What civil case have you been involved in?
 8   Bolan. I'm a California certified court reporter, and      8      A. Well, I've been involved with a number of
 9   this deposition is being held via videoconferencing        9   lawsuits where my company has sued people for
10   equipment. The witness and reporter are not in the        10   defamation. We've also --
11   same room. The witness will be sworn in remotely.         11      Q. Let me stop you. Sorry.
12           Sir, would you raise your right hand, please.     12         Your company. When you say "my company,"
13                                                             13   what are you referring to?
14                ROSS PIERCE CAMERON,                         14      A. Warrior Trading.
15           having been first duly sworn, was                 15      Q. Okay. And continue. You also what?
16            examined and testified herein.                   16      A. We've also had lawsuits with former
17                  EXAMINATION                                17   employees. We had a wrongful termination lawsuit, and
18   BY MISS JOHNSON:                                          18   we had a lawsuit with a former business partner, I
19      Q. Mr. Cameron, can you state your full name and       19   guess you could say.
20   how you pronounce it and spell it for the record.         20      Q. Okay.
21      A. Ross Pierce Cameron. R-o-s-s, first name,           21      A. So those are with Warrior.
22   P-i-e-r-c-e, middle name, Cameron, C-a-m-e-r-o-n.         22      Q. Okay. With Warrior, you said you were sued
23      Q. Okay. I'm going to ask you a series of              23   by defamation. What entities or persons sued Warrior
24   questions. Since it's being recorded and written down     24   Trading for defamation?
25   by the court reporter, your answers must be verbal.       25      A. We sued other people.

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 1       Q. Okay.                                              1   Warrior Trading, but what did you do before you were
 2       A. We haven't been sued for defamation. And I         2   with them?
 3   actually don't know how many people we've sued. That's    3       A. Prior to Warrior Trading, I worked for an
 4   something my attorneys would know. I'm actually not       4   architecture and design firm in New York City, and
 5   sure. We've done it many times if we've had problems      5   prior to that, I had graduated from college.
 6   with people.                                              6       Q. Okay. And what did you do for the
 7       Q. Okay. And those were for Warrior Trading.          7   architectural design firm?
 8   What about you personally? Have you been sued or sued     8       A. That was project management and a little bit
 9   anybody in a civil lawsuit?                               9   of Autocad drawing, a bit of budget management. It was
10       A. I am currently in a lawsuit with a defendant,     10   a small firm, so I was able to do a little bit of
11   someone who stole from me.                               11   almost everything.
12       Q. Okay.                                             12       Q. Okay. So what do you currently do at Warrior
13       A. And...                                            13   Trading?
14          Well, Nick, I don't know how the regulatory       14       A. My position is the CEO, although it's not a
15   thing from last year is considered, because it was a     15   Fortune 500 company where CEO is a huge responsibility,
16   settlement.                                              16   I suppose. My primary job, though, is overseeing my
17          MR. MORGAN: It was a settled lawsuit, but I       17   team and their daily tasks.
18   think Alise would be interested in hearing about that,   18       Q. How many people does Warrior Trading employ?
19   as well.                                                 19       A. We have about 20 employees.
20          THE WITNESS: Sure. So we settled a lawsuit        20       Q. And do they all trail up to you?
21   with the FTC last year, and that was between Warrior     21       A. Yeah.
22   Trading and the FTC.                                     22       Q. Do you have an ownership interest in Warrior
23       Q. BY MISS JOHNSON: Okay. What was that --           23   Trading?
24   what counts, or what was that FTC lawsuit? What did it   24       A. I do.
25   concern?                                                 25       Q. What is that?

                             9                                                             11

 1       A. That was concerning marketing material.            1       A. 100 percent.
 2       Q. Okay. Other than the FTC matter, have you          2       Q. And where is Warrior Trading? Where is its
 3   been the subject of any regulatory matters by the SEC     3   headquarters?
 4   or state regulators or other federal regulators?          4       A. Its headquarters would be here in the
 5       A. No, not that I'm aware of.                         5   Berkshires, in Massachusetts, Great Barrington.
 6       Q. Okay. All right. Did you discuss your              6       Q. And what are your job responsibilities as
 7   testimony today with anyone other than your attorney?     7   CEO?
 8       A. I did.                                             8       A. Well, my job responsibilities include
 9       Q. And who was that?                                  9   planning everything that we're going to do, paying all
10       A. I talked about it with my wife.                   10   the bills, making sure everybody gets paid, organizing
11       Q. Okay.                                             11   projects, following up with my managers who work
12       A. And I mentioned it to my son. He's two.           12   underneath me to find out how their team members are
13       Q. He's welcome to watch, if you would like him      13   doing. It's probably a fairly standard CEO role.
14   to.                                                      14       Q. All right. Tell me what Warrior Trading
15       A. And I mentioned it to his friend yesterday,       15   does.
16   as well. So his friend, also.                            16       A. We provide educational content, and we
17       Q. All right. Any other adults?                      17   provide services, software services, for active retail
18       A. No.                                               18   traders, primarily retail traders.
19       Q. Okay. How are you currently employed?             19       Q. I forgot to ask you, do you have any
20       A. I'm employed by Warrior Trading.                  20   professional licenses?
21       Q. Okay. How long have you been employed by          21       A. No.
22   them?                                                    22       Q. You said that Warrior Trading provides
23       A. I've been employed in this position since         23   educational content. What type of educational content
24   2010.                                                    24   is that?
25       Q. And I'll come back to your employment with        25       A. So I am a trader, and over the years, I began

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 1   producing content on YouTube, a lot of free content.      1   restricted to being either people who are members,
 2   And at a certain point, I decided to create a course      2   full-fledged members, people who are doing a two-week
 3   that teaches the strategy that I trade, and we've made    3   trial, and employees, or contractors, perhaps, of the
 4   that available for members of Warrior Trading. And one    4   company.
 5   of our goals is to help support financial literacy,       5       Q. Do you have other employees of other
 6   especially when it comes to active trading, so day        6   companies allowed in the chat rooms?
 7   trading certainly, specifically.                          7       A. No, not typically.
 8         Q. Okay. So you said that you have YouTube          8       Q. And you are Warrior Trading. I'm not talking
 9   videos. What other type of -- what other type of --       9   about you personally. Does Warrior Trading have any
10   how do you teach these classes, or how do you educate    10   other forms of social media?
11   people? What other means, other than YouTube?            11       A. We do.
12         A. So we have a software that we run, and it's     12       Q. What are those?
13   software that we built, it's custom software, and it     13       A. We have a Facebook account, we have our
14   includes the ability for me to live broadcast. It also   14   YouTube account, which I mentioned, we have a Twitter
15   has research tools so people can see stocks that are     15   account, and we have an Instagram account. And I think
16   moving and things like that, charts, stock charts. And   16   we have a TikTok account.
17   so I'm able to broadcast over that software, and so      17       Q. Which was your most active -- which one of
18   I'll teach classes. Tomorrow, at noontime, I'll teach    18   these have the most followers on your social media?
19   a class. This is my sort of regular routine is I teach   19       A. The most would be on YouTube.
20   classes throughout the week, I teach classes during      20       Q. How many followers do you have on YouTube?
21   market hours, I provide market commentary, and I teach   21       A. Over 1 million.
22   from the curriculum, and I teach new classes.            22       Q. Are your classes given in English?
23         Q. Do you charge for these classes?                23       A. Yes, they are.
24         A. We do.                                          24       Q. Are they given in any other languages?
25         Q. Do you have a website?                          25       A. No.

                            13                                                             15

 1       A. We do.                                             1       Q. Do you have -- are most of your students from
 2       Q. What is that website? What is the URL?             2   any particular country?
 3       A. warriortrading.com.                                3          MR. HALPIN: Objection.
 4       Q. Any other websites that you run or operate?        4          THE WITNESS: Yes.
 5       A. We run daytradedash.com, as well.                  5       Q. BY MISS JOHNSON: What country would that be?
 6       Q. Does your website have a chat room or does         6       A. We are international, so we do accept
 7   Warrior Trading otherwise have a chat room for your       7   clients, students from anywhere in the world, except
 8   customers?                                                8   for OPEC countries, of course, but we are predominantly
 9       A. Yes.                                               9   for U.S. traders. That's who we appeal to.
10       Q. What do you call the people that take your        10       Q. Now, when did Warrior Trading begin?
11   classes? Do you call them customers, students?           11       A. We began as a blog in I believe 2012, the
12       A. Students.                                         12   YouTube channel in 2013, and the website as it is
13       Q. And the people that use your platform, how do     13   today, or more similar as it is today, in 2014.
14   you refer to them?                                       14       Q. Okay. So the services that you've described
15       A. Students.                                         15   provided by the website and on social media, they're
16       Q. Okay. How would you access the Warrior            16   similar today as they are -- as they have been since
17   Trading chat room?                                       17   2014; is that fair?
18       A. If you're a member, you would be able to log      18          MR. HALPIN: Objection.
19   into our members dashboard, and that would give you      19          THE WITNESS: I would say that over the past
20   access to my entire curriculum, and it would give you    20   nine years, our product offering has changed, and
21   access to the day trade dashboard, which are all the     21   certainly the design of the website has also changed,
22   tools and the chat rooms.                                22   but we have been essentially the same business, if that
23       Q. Okay. Is there anyone in those chat rooms         23   answers your question.
24   other than your member students?                         24          MISS JOHNSON: Yes. I just wanted to know
25       A. The people in those chat rooms would be           25   what differences there were.

                            14                                                             16

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 1            THE WITNESS: Yeah.                                1   tell us what you -- what you shared with your students,
 2        Q. BY MISS JOHNSON: Do you teach about the            2   what tools you share with your students about ways to
 3   pattern day trader rules?                                  3   avoid the pattern day trading laws?
 4        A. We do.                                             4           MR. HALPIN: I'm just going to object. I
 5        Q. And briefly describe what the pattern day          5   think you're mischaracterizing. I don't think he
 6   trader rules are.                                          6   testified that he tells people how to avoid the pattern
 7            MR. MORGAN: I'm just going to object, I may       7   day trading rules.
 8   do this a couple of times based on anticipated             8           MR. MORGAN: I'll join in that, actually.
 9   questions, that Mr. Cameron is not a lawyer and your       9   That's a fair objection.
10   question appears to call for a legal conclusion,          10       Q. BY MISS JOHNSON: What tools have you shared
11   although I'm guessing you just want some understanding.   11   with your students about the day trading rules that you
12            MISS JOHNSON: He describes it on his             12   just spoke about?
13   website. If he wants to describe his website, he can,     13       A. Okay. So one of the tools that I used was
14   but I just want his understanding of what he teaches      14   SureTrader, and I've used others, but SureTrader is one
15   about the pattern day trader rule, his understanding.     15   of them, and the idea being that it's an offshore
16            MR. MORGAN: You may answer.                      16   broker that does not enforce the PDT rule, so it
17            THE WITNESS: Okay. So we do teach about the      17   allowed me to trade.
18   pattern day trader rule, and the rule, as I understand    18       Q. Okay. Any other ways the traders can get
19   it, is that you need to have a minimum of $25,000 in      19   around some of the restrictions of the PDT rules?
20   your account in order to day trade more than three        20           MR. HALPIN: Same objection.
21   times a week.                                             21           THE WITNESS: Using the cash only account and
22        Q. BY MISS JOHNSON: Okay. What would happen if       22   trading half the balance every other day and waiting on
23   you tried to trade more than three times a week?          23   settlement.
24            MR. HALPIN: Objection.                           24           MISS JOHNSON: Okay.
25            THE WITNESS: If you have a margin account,       25           THE WITNESS: Perhaps trading futures or

                             17                                                             19

 1   you would be flagged as violating the PDT rule and your    1   trading options which settle the same day.
 2   account could get locked, although most brokers will       2       Q. BY MISS JOHNSON: Okay. How did you first
 3   tend to unlock your account for you and give you a few     3   learn about an entity called SureTrader?
 4   free passes every so often. If you have a cash             4       A. So I don't recall when I first learned about
 5   account, you can day trade as much as you want until       5   SureTrader, but it was one of those communities or one
 6   you run out of cash because of the settlement period.      6   of those services that was being talked about. I
 7       Q. BY MISS JOHNSON: You said if you had a              7   remember Tim Sykes doing a -- I don't know if it was an
 8   margin account, you're restricted to three times a week    8   interview with Guy Gentile or if it was a blog post or
 9   in any given trade. Are there certain levels of margin     9   something like that. I don't even know what year it
10   dictated by the pattern day trader rule that traders      10   might have been. It was a long time ago. And so I
11   use?                                                      11   learned about it and then visited their website myself
12          MR. HALPIN: Objection.                             12   and created my own account at one point.
13          THE WITNESS: I understand that over 25,000,        13       Q. Okay. Do you remember what year?
14   you get four times leverage. I can't recall what it is    14       A. I don't.
15   below 25,000, if it's only two times or one time, or      15       Q. And did you have any issues with opening the
16   I'm not sure.                                             16   account?
17       Q. BY MISS JOHNSON: In your classes or on your        17       A. No, not really. I funded the account. One
18   website, do you give advice on how traders can avoid      18   of the times, I added more money into it. They
19   the pattern day trader rules?                             19   credited that amount twice. I was, like, wow, that's
20          MR. HALPIN: Objection.                             20   cool, kind of a funny operation that never happened at
21          THE WITNESS: We don't give advice, but I do        21   E*Trade or TD Ameritrade. But I was a small trader at
22   share with students the tools that I've used in the       22   the time, and I was grateful for it.
23   past, including some that allowed me to day trade while   23       Q. Do you remember how much you had funded into
24   I was under $25,000.                                      24   your account?
25       Q. BY MISS JOHNSON: Okay. And can you briefly         25       A. Maybe $700 or 1,700. It wasn't a lot. It

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 1   was a small amount.                                        1       Q. Is he still with Warrior Trading?
 2       Q. Did Warrior Trading ever come to have a             2       A. No, neither are still at Warrior Trading.
 3   relationship with SureTrader?                              3           MISS JOHNSON: Let's call up Exhibit 34.
 4       A. We did.                                             4           THE WITNESS: Okay.
 5       Q. And how did that relationship come about?           5           (Deposition Exhibit 34 marked for
 6       A. So I don't recall what year it was that it          6   identification.)
 7   came about, although on the marketing agreement, I         7           MISS JOHNSON: I'm showing you what you'll
 8   think there's a date, so I'm sure you know. But we had     8   see at the bottom is a little yellow sticker, it says
 9   been in the practice of setting up broker rebate           9   "Exhibit 34." I premarked these. And at the very
10   programs and trying to negotiate discounted commissions   10   bottom of the page, you'll see WARRIORSEC_00...
11   on behalf of our students. We were U.S. brokers, and      11           That's just how we refer to the documents
12   we had done that successfully, which was great. But       12   going forward, so if I say that, you'll know what we're
13   some of the U.S. brokers were not accepting               13   talking about.
14   international students, and we do have international      14           Can we make this a little bigger?
15   students, mostly from English speaking countries, like    15           MR. MORGAN: I actually have the ability to
16   U.K. and Australia.                                       16   make it bigger. Maybe we each do. There's a
17          Anyways, so we looked -- that was when we          17   plus/minus.
18   sort of began the process of looking to add some          18           MISS JOHNSON: That will help. Thank you.
19   international brokers, and we did end up adding two       19           THE WITNESS: I do see that.
20   international brokers, and they were willing to           20       Q. BY MISS JOHNSON: Okay. And I'm showing
21   negotiate group rates, which we called broker rebate      21   you...
22   programs.                                                 22           Look at the document, and let me know if you
23       Q. And who were those two international brokers?      23   recognize this document.
24       A. TradeZero and SureTrader.                          24       A. I do. I can only see the first page.
25       Q. Okay. And when were these negotiations with        25           THE VIDEOGRAPHER: You can just say "next

                             21                                                             23

 1   SureTrader about entering into some type of                1   page" when you want me to move on.
 2   relationship? When did they occur?                         2      Q. BY MISS JOHNSON: Do you want to look through
 3       A. Off the top of my head, I don't recall, but I       3   the whole thing?
 4   think it was...                                            4      A. Okay. Next page.
 5           I don't want to speculate, because it's on         5          Okay.
 6   the agreement, I know it's on the agreement, so...         6      Q. So let's go to the first document. It
 7       Q. Okay. I will show you the agreement. I'm            7   appears to be an e-mail. It says
 8   just asking what you know now.                             8   rosspcameron@gmail.com. Is that your e-mail address?
 9           And who on behalf of Warrior Trading               9      A. Yes.
10   negotiated that agreement?                                10      Q. And it says justin@suretrader.com. Do you
11       A. That was reviewed by myself and also by Jeff       11   know who that is?
12   and Alex.                                                 12      A. I recall Justin.
13       Q. Who are Jeff and Alex?                             13      Q. Who was that? Who was Justin?
14       A. Jeff and Alex were brothers. Both were             14      A. I couldn't say with certainty who he was, but
15   employees at Warrior Trading.                             15   I understood that he was an employee of SureTrader,
16       Q. What were their positions there?                   16   but, you know, I don't know for sure.
17       A. At the time...                                     17      Q. This appears to be an e-mail from you to
18           It depends on -- they moved up the ladder, so     18   Justin on April 28, 2016 at 4:31 p.m., and it says,
19   I don't know when exactly this agreement was, but Alex    19   "Hey, Justin. Just touching base with you guys. We've
20   was in charge of marketing, and Jeff, he wasn't --        20   had a number of members express concern over the recent
21   well, I guess he did a little bit of business. He         21   news of Guy's indictment and how that might impact
22   helped with kind of running the business when I was       22   SureTrader. Is Guy still part of the SureTrader
23   bogged down with teaching so many of the classes. So      23   business? Is there any reason for concern among our
24   he was helping a little bit more with operations,         24   members who use SureTrader?"
25   day-to-day operations, I guess you could say.             25          Do you see that?

                             22                                                             24

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 1       A. I do.                                               1       Q. BY MISS JOHNSON: Okay. And you'll see, if
 2       Q. Who was Guy when you wrote "Guy"?                   2   you look at where it says "Justin Ritchie,
 3       A. I was referring to Guy Gentile.                     3   justin@suretrader" to rosscameron@gmail, April 29th,
 4       Q. And what was your understanding of how Guy          4   2016, 9:35, it says, "Hi, Ross. Your concern is
 5   Gentile was related to SureTrader?                         5   understandable given the headlines, but there's no
 6       A. I understood that he owned SureTrader, but,         6   cause for concern. In reference to the news reports
 7   of course, my understanding may not have been fact.        7   concerning Mr. Gentile, I assure you that Swiss America
 8   But from the interview or whatever it was that Tim         8   Securities is not complicit in any allegations brought
 9   Sykes did, I remember the picture of the two of them       9   against him. Those charges predate our existence, and
10   side by side, and it seems like it was a promotion for    10   although Mr. Gentile is the founder, we thought it best
11   SureTrader, and it seemed like Guy was the top at         11   that he step down at president earlier this year given
12   SureTrader.                                               12   the circumstances."
13       Q. Okay. Do you remember drafting this e-mail?        13          Do you see that?
14       A. I don't recall drafting the e-mail. Now that       14       A. I do.
15   I look at it, I recognize that it looks probably like     15       Q. Then if we go to the next page, what was your
16   an e-mail I sent, yeah, sure.                             16   response on April 29th of 2016 to Mr. Ritchie?
17       Q. Do you recall why you were reaching out to         17       A. I said, "Thank you for the e-mail. That does
18   SureTrader?                                               18   make me feel a bit better."
19       A. I do.                                              19          He said I understand your concern, but
20       Q. Why was that?                                      20   there's no reason for concern, so, okay. But when I
21       A. There had been news that Guy Gentile had been      21   did an ACH withdrawal from my account, and it says Guy
22   indicted, I think that's the right word. I think that     22   Gentile, and the e-mail says ggentile@swissamerica,
23   was the case, or charges were -- something was going on   23   that made me wonder if he was, in fact, still involved.
24   with him, and something with penny stocks, and it sort    24   It made me a little skeptical as to what Justin had
25   of sent shockwaves through the community of active        25   just sent in the previous e-mail.

                             25                                                             27

 1   retail traders, because we were like, whoa, doesn't he     1       Q. And that withdrawal was from your personal
 2   run the broker that I'm using? And I believe the           2   trading account?
 3   allegations also involved maybe somehow using one of       3       A. Yes, that's correct.
 4   the brokers, because there was also Speedtrader, which     4           MISS JOHNSON: Okay. All right. Let's go to
 5   was a U.S. broker, but I understood it was also owned      5   Exhibit 35.
 6   by him.                                                    6           (Deposition Exhibit 35 marked for
 7           So, anyways, people were expressing concern,       7   identification.)
 8   and I usually try to, if I can, send that up the line      8           MR. HALPIN: You're not going to show him the
 9   and see if I can find an answer and find some              9   rest of the document?
10   reassurance.                                              10           MISS JOHNSON: No. You're welcome, if you'd
11       Q. Okay. Did you know Justin at SureTrader            11   like to, in your time.
12   before you reached out to him?                            12       Q. BY MISS JOHNSON: I'm showing you what's been
13       A. I don't know how I got his e-mail, so -- I         13   marked Plaintiff's Exhibit 35, and it says it's from
14   know who Justin is. You know, he was, I thought, an       14   Ross Cameron to Justin Ritchie. It's a few months
15   employee at SureTrader. I don't know when or how I was    15   later, August 23rd, 2016, and it says, "Hi Justin. I
16   introduced to him. I couldn't say. But obviously, I       16   wanted to reach out to you to see if you'd be
17   had his e-mail, and I said, "Hey, Justin," so it seems    17   interested in working together to promote SureTrade
18   like I was friendly enough with him that I probably had   18   among the Warrior Trading community. As you know, we
19   spoken with him before this e-mail.                       19   have over 2,000 active members in our community. We
20           MISS JOHNSON: Okay. Fair enough.                  20   have just launched a rebate program with SpeedTrader,
21           Can we just go down, scroll down a little so      21   and we'd love to have a similar arrangement with
22   we can see what Justin's response was.                    22   SureTrader. Check out the broker rebate program here,"
23           Up a little.                                      23   and there's a warriortrading/speedtrader broker rebate
24           It's the same page, the same page we were         24   program. "SpeedTrader appeals to U.S. residents with
25   just looking at, please.                                  25   over 25,000, but we'd like an arrangement that appeals

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 1   to international traders, et al."                         1          MR. HALPIN: Objection.
 2          Does this remind you or refresh your               2          THE WITNESS: So, you know, we put out so
 3   recollection as to when you started the relationship      3   much content, YouTube, the classes, other social media,
 4   with Speed -- I'm sorry -- with SureTrader?               4   some people invariably will see that and then go check
 5          MR. HALPIN: I just object to the reading of        5   out SureTrader. So there's no way -- I mean, I
 6   that last sentence. I believe it's "international         6   couldn't think of any way that would just strictly we
 7   traders, as well."                                        7   were capable of screening who was on the, you know,
 8          MISS JOHNSON: Sorry if I didn't say that.          8   application page -- you know, actually to be able to
 9          THE WITNESS: Yes, it does refresh my memory.       9   say they were eligible for this program, yes or no.
10       Q. BY MISS JOHNSON: So was it around                 10          So we said, well, this is pretty easy, we
11   August 23rd, 2016?                                       11   give our customers, our students, a receipt, so you
12       A. Yeah, it appears that way.                        12   don't want to give this commission just to anyone, it's
13          MISS JOHNSON: Okay. And let's look down --        13   supposed to be a special group rate. So the
14   if we go down to -- it's going back and forth, but can   14   commission, the receipt proves they're a customer, and
15   we look down the page to the September 14th, 2016        15   the billing address shows whether they're domestic or
16   response at 11:22 a.m.                                   16   international.
17          Okay. That's it.                                  17          So that was kind of our feeling, and it
18          Ross Cameron to Justin Ritchie, cc Alex and       18   seemed to me like that was the way to do it. That was
19   Jeff at Warrior Trading, "Hi, Justin. Thanks for         19   the most logical to me.
20   getting back to me."                                     20       Q. BY MISS JOHNSON: Okay. On the receipt,
21          Whoops. I'm sorry. Can we go up?                  21   whose responsibility was it under this agreement to
22          One more.                                         22   make sure that you weren't sending U.S. customers to
23          Okay. September 14th, 2016 at 11:22 a.m.          23   SureTrader?
24   This is Mr. Ritchie responding to you.                   24          MR. MORGAN: We don't have the agreement up
25          "Hi, Ross. Looks good. However, how do you        25   yet.

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 1   ensure that U.S. clients don't come to us, or is it up    1           MISS JOHNSON: Okay.
 2   to us not to accept U.S. persons using your code or       2           THE WITNESS: Can you ask the question again?
 3   name? Thanks, Justin."                                    3           MISS JOHNSON: I'll wait for that.
 4           And then if we just go down to your response      4           THE WITNESS: Okay.
 5   on February -- Wednesday, September 14th at 11:55         5        Q. BY MISS JOHNSON: Okay. You said that you
 6   a.m....                                                   6   were going to -- it says here -- let me make sure I get
 7           Can we scroll down?                               7   it right -- "we can state that this is only for
 8           THE WITNESS: I see that.                          8   international traders."
 9           MR. MORGAN: I have the document on our            9           Where were you going to state that that was
10   screen.                                                  10   only for international traders?
11           MISS JOHNSON: Gotcha'. I had it so blown up      11        A. I'm not sure exactly what I was thinking when
12   I couldn't see it.                                       12   I sent this e-mail --
13           That's when you say, "Hi, Justin. Thanks for     13        Q. Okay.
14   getting back to me. There are a couple things we can     14        A. -- but somewhere we would...
15   do. We can state that this is only for international     15           To be determined, I suppose.
16   traders. As a requirement, students will send you a      16        Q. Okay. We'll see if we get there.
17   copy of their invoice so we can get the discounted       17        A. Okay.
18   commission. That will show their billing address. If     18        Q. The next line says, "With this promo"...
19   it's a domestic address, you'll say, sorry, can't help   19           Do you see where that starts?
20   you."                                                    20        A. I do.
21       Q. BY MISS JOHNSON: Was that your suggestion?        21        Q. "With this promo we don't want to receive any
22           MR. HALPIN: Objection.                           22   compensation. We want to be able to say we aren't
23           THE WITNESS: Yeah, it certainly was.             23   getting paid to send traders to SureTrader. This is
24       Q. BY MISS JOHNSON: And how was that supposed        24   purely for our students' benefit. It helps us with
25   to work?                                                 25   marketing. We would like if we can co-market this, so

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 1   if you were able to also have a broad post on it sent      1             There we go.
 2   to your e-mail list that you're sponsoring a               2        Q. BY MISS JOHNSON: It's from Justin Ritchie to
 3   100 percent rebate with Warrior, et cetera."               3   Ross Cameron. "Hello, Ross. Sorry for the tardy
 4            Is that what it says?                             4   response."
 5        A. It is.                                             5             Do you see that?
 6        Q. What did you mean by "co-market"?                  6        A. Yeah.
 7        A. Well, it was very important for us -- I don't      7        Q. "We have been preoccupied with launching our
 8   need to make $50 for every person that might sign up to    8   new backoffice system for weeks," and then the last
 9   SureTrader. So I didn't care about that. I wanted to       9   sentence says, "Shall I prepare an agreement, or do you
10   put together something that 100 percent of the discount   10   have one handy?"
11   went right to our students, so I didn't receive any       11             Do you see that?
12   affiliate revenue. And I was hoping that would also be    12        A. I do. I see it.
13   something they would like, because I knew that they       13        Q. And if we go to your response, down a
14   were paying -- I knew through the grapevine, I heard      14   little...
15   through the grapevine that they were paying commissions   15             Let's see...
16   to other people, affiliate commissions, so I thought,     16             Justin responds.
17   well, they'd be pretty happy that I don't even want       17             Let's see.
18   that, maybe they would give our students a better rate.   18             "Hi, Justin. We don't have a formal
19            And then I thought perhaps they could send       19   agreement with Speedtrader, but if you'd like an
20   out an e-mail to their customers saying, hey, we have     20   agreement"...
21   this new relationship with Warrior Trading, so maybe      21             Can we go down to September 29th at 11:29?
22   they have customers that aren't trading very well or      22             Okay. It's from Justin Ritchie to you. "Hi,
23   are frustrated and want to go through a course and        23   Ross. This is understandable. The agreement's use
24   learn a little bit more about someone who trades a        24   will be more for use to outline the parameters of
25   little bit more consistently and that there could be an   25   marketing, i.e., not intended for U.S. persons. I will

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 1   opportunity there that it would benefit us. But I          1   forward one shortly."
 2   don't...                                                   2           Do you see that?
 3           Yeah.                                              3       A. I do.
 4       Q. Okay. You said you had heard through the            4       Q. Did he forward you an agreement?
 5   grapevine that they were paying affiliate commissions.     5       A. He did.
 6   Can you expand on that?                                    6       Q. Who drafted that agreement?
 7       A. Sure. I knew they had some type of affiliate        7       A. They drafted it.
 8   program, and I saw other people out there on social        8       Q. "They" being SureTrader?
 9   media dropping their affiliate links, so these are --      9       A. Yes.
10   and I seem to recall some kind of -- I don't remember     10       Q. All right. There's e-mails going back and
11   how they set it up, but there was some kind of program,   11   forth, but if we go down to the bottom of page 31,
12   as I recall, some type of affiliate program that          12   Bates marked 31, September 30th, 2016...
13   involved some commission. I'm almost -- you know,         13           Can we go down to the bottom?
14   again, I can't speak for what someone else got, because   14           Okay. So at September 30th, 2016, Justin
15   it wasn't what I had, but that was what I understood.     15   Ritchie writes Ross Cameron, "Hi, Ross. Thanks for
16   Maybe it's not right, but it seemed that way to me.       16   clarifying that. Attached is the revised version.
17       Q. Okay. Do you remember where you had heard          17   Please review and ensure it's accurate."
18   that from or seen that?                                   18           Do you see that that was on September 30th?
19           MR. HALPIN: Objection.                            19       A. I see it.
20           THE WITNESS: Twitter, YouTube, social media,      20       Q. And then you respond October 4th of 2016,
21   people making videos, talking about SureTrader, talking   21   Ross Cameron to Justin Ritchie, "Excellent. See signed
22   about other services, too, and then dropping all their    22   page attached. Agree to it in full. I will send you a
23   links, their affiliate links.                             23   draft of marketing page this week."
24           MISS JOHNSON: Okay. If we can go to the           24           Is that what you wrote?
25   next page, September 29th at 11:12.                       25       A. Yeah.

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 1       Q. And if we go down to the last page, we see...       1       Q. Can you summarize what this agreement
 2           You tell me what this is.                          2   memorializes?
 3       A. This appears to be the signature page with my       3           MR. HALPIN: Objection.
 4   signature, and it also makes note of the compensation      4           THE WITNESS: Well, of course, I'm not an
 5   and some other disclosures and things like that.           5   attorney, and I certainly see this agreement. It's
 6       Q. Okay. This is the signature page to what?           6   four pages. There's a lot of words. Each of those
 7       A. The marketing agreement that they had sent          7   words have a lot of letters. I can't say definitively
 8   over.                                                      8   what all of it means, but, to me, it seems to be the
 9       Q. And what date did you sign it?                      9   agreement that stipulates how this broker rebate
10       A. Actually, I can't...                               10   program would work.
11           Hold on. Let me scroll.                           11           MISS JOHNSON: Okay.
12           October 4th, 2016.                                12           THE WITNESS: You know, like I said, I'm
13       Q. Great. And then let's pull up the full             13   not -- this isn't my area of expertise, but I'm sure if
14   agreement, Exhibit 36.                                    14   you point things out, I can answer questions specific
15           (Deposition Exhibit 36 marked for                 15   to that.
16   identification.)                                          16       Q. BY MISS JOHNSON: Sure. Who was the
17       Q. BY MISS JOHNSON: Take a look. What date was        17   marketing agent under this agreement?
18   this entered on?                                          18       A. That was Newfane Design, Incorporated, which
19       A. Sorry. It says October 1st, 2016.                  19   was the Vermont based corporation I had created in
20       Q. Okay. But we just saw that you signed it on        20   2010, that I had been an employee of since then, but
21   October 4th.                                              21   that was doing business as Warrior Trading.
22       A. Yes.                                               22       Q. And who were they the marketing agent for?
23       Q. Okay. And how soon after this was signed did       23       A. For Warrior Trading?
24   it go into effect?                                        24       Q. Who were they marketing --
25           MR. HALPIN: Objection.                            25           (Interruption by the court reporter.)

                             37                                                            39

 1           THE WITNESS: I think it went into effect --        1          THE WITNESS: I said -- I said Newfane Design
 2   I think we -- I don't remember if the e-mails spoke to     2   for Warrior Trading.
 3   that, but there was some conversation about that,          3       Q. BY MISS JOHNSON: They were the marketing
 4   because we didn't want -- I think there needed to be       4   agent?
 5   some communication about whether or not this agreement     5          I need to ask the question more artfully.
 6   retroactively applied to people who may have signed up     6          Okay. So Warrior Trading was the marketing
 7   to our classes in previous months, would they now be       7   agent. Who was the other party to this agreement?
 8   eligible for this, you know, and/or what about people      8       A. I understood it to be SureTrader.
 9   maybe who already had accounts with SureTrader, would      9       Q. Okay.
10   they be able to use this to negotiate a lower rate.       10       A. But I can read that it says Swiss America
11           And I don't remember what the terms were for      11   Securities.
12   all of that, but this agreement did start to become, I    12       Q. Do you understand Swiss America Securities to
13   guess, you know, part of our offering on our website,     13   be one and the same as SureTrader?
14   the broker rebate program, sometime shortly after we      14       A. More or less. I don't understand the
15   signed it.                                                15   intricacies, but I recall that being -- sounding
16       Q. BY MISS JOHNSON: So the rebate program began       16   correct.
17   under this marketing service agreement within how many    17          MISS JOHNSON: Okay. I'm going to have
18   months of you signing it?                                 18   several questions about this agreement. Do you guys
19       A. I don't recall how many months it was. I           19   want to take a quick break before we get into it?
20   think it was -- I would characterize it as being          20          MR. HALPIN: Yes.
21   shortly after. We wanted to get it up and running. We     21          MISS JOHNSON: Okay.
22   thought it was going to be a good value-add for our       22          MR. MORGAN: Yes, let's take a quick break,
23   students, so I think any hold up on it was maybe going    23   and, Ross, mute your microphone, as well, please.
24   back and forth on the page design to make sure everyone   24          MISS JOHNSON: Why don't we come back at
25   was happy with it.                                        25   3:15.

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 1          THE VIDEOGRAPHER: The time is now 3:06 p.m.         1   investors. Any mention of Swiss America or its
 2   Going off the record.                                      2   affiliates on marketing agent's website or other
 3                              (Recess.)                       3   promotional materials must have the following
 4          THE VIDEOGRAPHER: We're back on the record.         4   disclaimer attached in prominent font: 'This does not
 5   The time is now 3:16 p.m.                                  5   constitute an offer or solicitation for brokerage
 6          MISS JOHNSON: All right. Can we go back to          6   services, investment advisory services, or other
 7   Exhibit -- the exhibit we were looking at before, the      7   products or services in any jurisdiction where we are
 8   marketing agreement?                                       8   not authorized to conduct investment business or where
 9          MR. HALPIN: Thirty-six.                             9   such offer or solicitation would be contrary to the
10          MISS JOHNSON: Thank you.                           10   securities or local laws and regulations of that
11       Q. BY MISS JOHNSON: Okay. Under number one,           11   jurisdiction. Swiss America Securities, LTD
12   "Services," it says, "The services to be performed by     12   (SureTrader) does not service accounts for U.S.
13   the marketing agent hereunder shall be described on       13   clients, U.S. residents, or U.S. corporations.'"
14   Exhibit A attached hereto and incorporated herein by      14           Is that what is stated forth there?
15   reference, (the "services)." Marketing agent agrees to    15       A. Yes.
16   provide the services on the terms and conditions as set   16       Q. Okay. What were you agreeing to do under
17   forth in this agreement and such additional terms as      17   this provision of the marketing agreement?
18   set forth on Exhibit A."                                  18           MR. HALPIN: Objection.
19          Is that what it says?                              19           MR. MORGAN: I'll join in that.
20       A. It appears to say that, yes. Yeah.                 20           THE WITNESS: So again I'll say that I'm not
21       Q. We'll look at Exhibit A in a minute, but           21   an attorney and I'm not sure how carefully I read the
22   before that, can we go down to section -- you'll have     22   specific section or the entire agreement. You know,
23   to count the numbers. It's 10F.                           23   this was something that we would have signed seven
24          MR. MORGAN: Can we just scroll through the         24   years ago, so -- nearly. But as I read it now, I can
25   entire document, because there's a couple of different    25   give you what I think of it today, but I don't know if

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 1   versions of this going around, just so Mr. Cameron can     1   that's helpful.
 2   see the whole document?                                    2       Q. BY MISS JOHNSON: Okay. No, I want to know
 3            MISS JOHNSON: Sure.                               3   at the time period. I'll just break it down.
 4            THE VIDEOGRAPHER: Just let me know next           4       A. Okay. Sure.
 5   page.                                                      5       Q. Okay. Where it says...
 6            MR. MORGAN: You don't need to read word for       6           Did you mention Swiss America or SureTrader
 7   word, but just so you can see. There were a couple         7   on your websites or other promotional materials?
 8   different versions I think.                                8       A. We did.
 9            THE WITNESS: Okay. I am ready for the next        9       Q. Did you include this disclaimer listed in
10   page.                                                     10   section F?
11            Okay. Next page, please.                         11       A. I'm not sure which disclaimer we did include.
12            Okay.                                            12   I recall and I understand that they preapproved our
13            MR. MORGAN: I think the witness is done          13   broker rebate page and had asked for specific language
14   reviewing the document.                                   14   to be on that page, not for U.S. citizens, or, for
15       Q. BY MISS JOHNSON: All right. So if we go up         15   international traders only, something to that extent.
16   to -- I think it was Bates marked 26, 10F, and I'll       16   I don't remember if they asked us to put this on that
17   call your attention to 10F, where it says                 17   page. And when we sent that for their review, we were
18   "Non-Solicitation of U.S. Investors."                     18   open to putting on what they thought was appropriate.
19            Do you see that?                                 19           So if they didn't ask us to, we probably
20       A. 10F. Yes, I see that. I haven't read the           20   didn't. But if they did, then we certainly would have.
21   whole paragraph, but I see the headline there.            21   So I'm not sure whether or not it did. It seems like a
22       Q. Okay. I'll read it, and you can read along.        22   fairly long disclaimer, so I don't know.
23       A. Okay.                                              23       Q. Okay. Where it says "marketing agent" in the
24       Q. "Marketing agent agrees not to directly or         24   first sentence, "Marketing agent agrees not to directly
25   indirectly engage in the solicitation of U.S.             25   or indirectly engage in the solicitation of U.S.

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 1   investors," what did Warrior Trading do to ensure that     1   SureTrader accounts, but I'll also say, when I'm
 2   you were not directly or indirectly engaging in the        2   speaking to students, I can't differentiate whether
 3   solicitation of U.S. investors on behalf of SureTrader?    3   they're from the U.S. or they're international when
 4           MR. HALPIN: Objection.                             4   they're an attendee, just like we're all attendees
 5           THE WITNESS: Well, I think that anything           5   here. I don't know. So someone might have said and I
 6   that we -- when we discussed SureTrader and we             6   might recall someone saying, yeah, I have a SureTrader
 7   discussed the broker rebate program, we would link back    7   account, but I might not know at that time if they were
 8   to the page that they approved. So we would say, hey,      8   a U.S. person or not. But there are some U.S. traders
 9   we have a broker rebate program, learn more about it       9   that I'm pretty positive they had SureTrader accounts.
10   here, and then at that place, that's where people would   10       Q. Let's go down to Exhibit A. I think it's on
11   see sort of the full scope of it, the details of how it   11   page 25 of this exhibit, Bates marked 25. It continues
12   worked, but also the limitations of it for U.S. or        12   to 26.
13   international traders -- well, specifically limitation    13          Thank you.
14   for U.S. traders.                                         14          Okay. So Exhibit A is the "Services and
15           So I think by having our mentions of              15   Duties of the Marketing Agent." "Subject to the terms
16   SureTrader go back to that main page, that was,           16   and conditions of this agreement, Swiss America retains
17   perhaps, what we were doing. It's possible in e-mails     17   marketing agent as a marketing agent for Swiss America
18   we also made written note of the fact that it was for     18   to market international brokerage services to
19   international traders only. If we were using an image,    19   international non U.S. investors and marketing agent
20   it may have said for international traders only, and      20   accepts such engagement. Marketing agent shall use its
21   that would have been an image that SureTrader would       21   best efforts to market the brokerage accounts of Swiss
22   have approved.                                            22   America to potential new brokerage customers to its
23           But, you know, again, I'm not sure beyond         23   international non U.S. website visitors."
24   that what we did, because our position on this and our    24          Do you see that?
25   understanding was that they were sort of the gatekeeper   25       A. I see that.

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 1   of choosing whether or not to accept a client and          1       Q. Okay. And then it goes on to say, "Marketing
 2   whether or not to honor the rebate program, whether or     2   agent"...
 3   not they felt that the customer was a U.S. customer or     3          I'm sorry, I lost my place.
 4   they thought they were international. You know, that       4          ..."is generally in the business of providing
 5   was sort of on them to figure out. So, yeah, I             5   a website community and information on trading
 6   suppose, yeah, yeah.                                       6   securities, including but not limited to educational
 7       Q. "They" being who?                                   7   products and tee" -- is that tee or tech? It says
 8       A. SureTrader.                                         8   tee -- "and tee and subscription-based content.
 9       Q. Did you have any separate links on your web         9   Marketing agent shall prominently feature Swiss
10   page for U.S. residents versus non U.S. residents?        10   America's name, logo, and services in such marketing
11       A. No, we had just the one page, as far as I can      11   materials only as Swiss America and marketing agent
12   recall, that talked about the broker rebate program.      12   agree. Marketing agent's recommendation of Swiss
13   We didn't have a U.S. or non U.S. version.                13   America shall prominently appear on such marketing
14       Q. Did SureTrader service accounts for U.S.           14   materials of marketing agent."
15   citizens?                                                 15          Do you see that?
16          MR. HALPIN: Objection.                             16       A. I do, and I'd like to make it clear that we
17          THE WITNESS: I understand they did, because        17   don't sell tee, whatever that t-e-e is.
18   I had an account there, and I'm a U.S. citizen.           18       Q. Do you know what that was meant to --
19       Q. BY MISS JOHNSON: Were you aware of any of          19       A. I have no idea.
20   your customers or students that resided in the U.S.       20       Q. Okay. So what did Warrior Trading do to
21   having accounts with SureTrader?                          21   prominently feature Swiss America's name and logo in
22          MR. HALPIN: Objection.                             22   its marketing materials?
23          THE WITNESS: I am aware of students that had       23       A. Well, I don't know...
24   accounts at SureTrader. I'd have to say, generally,       24          I suppose you'd have to define "prominently,"
25   I'm quite certain that there were U.S. traders that had   25   but we did feature SureTrader alongside the other

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 1   brokers that participated in the broker rebate program     1   someone who said, you know, SureTrader rejected me and
 2   that we had, and there were a number of brokers. So        2   wouldn't let me open an account. That may well have
 3   they were featured and they were -- that was about the     3   happened, but I didn't hear about that that I can
 4   extent of it, I suppose. They were featured in sort of     4   recall.
 5   equal position with some of the other tools. They may      5      Q. Okay. Did SureTrader ever complain to you
 6   have been more popular, that I don't know, but they        6   about how Warrior Trading was operating under this
 7   were featured somewhat equally.                            7   agreement?
 8        Q. When you say featured with some of the other       8           MR. HALPIN: Objection.
 9   tools, what do you mean by that?                           9           THE WITNESS: No, not once that I recall.
10        A. Well, some of the other tools that most           10      Q. BY MISS JOHNSON: Did you ever discuss with
11   traders would be using. And at the time, that was not     11   Warrior Trading the referral system and how it was
12   just the broker rebate program. There were sort of a      12   working?
13   number of different tools that traders use, whether       13      A. Can you ask that again?
14   it's a squawk service or charting or stock scanning,      14      Q. Sure. What discussions, if any, were there
15   and we had -- usually we had group rates or discounts     15   with SureTrader about the number of referrals that you
16   for a lot of those different services, and so we would    16   were sending to them?
17   have a section for people who had recently signed up      17           MR. HALPIN: Objection.
18   where they would sort of see all of the tools and all     18           THE WITNESS: I recall seeing an e-mail chain
19   of the different special offers that they could           19   about it, which Nick had showed me, so that was, I
20   participate in if they wanted to.                         20   guess, something that we provided to you, which maybe
21           And then on the website itself, the broker        21   you'll ask me questions about. But there was a
22   rebate pages, they were in a section. So we had one       22   question about at one point when they were increasing
23   that was almost the same and a second and a third and a   23   their commissions, because I thought, geez, this wasn't
24   fourth for each of the different brokers participating.   24   a good thing to do, you know, we've got a lot of
25        Q. Okay. We'll try to look at that later.            25   students that we've probably sent to you, and now

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 1   Let's continue with this document and let's see where      1   you're -- you know, they don't sound like they're being
 2   we go.                                                     2   grandfathered in, the commissions are going up. I
 3          Okay. If we can go down to page 27 of this          3   thought maybe I would have more sway and be able to
 4   exhibit...                                                 4   say, come on, that's not fair. But that wasn't the
 5          Okay. Can you show the whole page?                  5   case. So there was that one conversation.
 6          If you look at the second paragraph, down           6      Q. Other than that conversation, did SureTrader
 7   where it says "Marketing agent acknowledges," do you       7   ever -- were there any discussions, and, if so, what
 8   see that?                                                  8   were they about how the marketing agreement was -- how
 9      A. Yes, I do.                                           9   you were operating under this marketing agreement?
10      Q. "Marketing agents acknowledges and agrees           10          MR. MORGAN: Objection; compound.
11   that Swiss America may refuse to open an account for      11          THE WITNESS: I don't recall off the top of
12   any persons referred by marketing agent to Swiss          12   my head. And, again, it's possible something came
13   America in its sole discretion for any reason or no       13   through and I didn't see it, but I don't recall them
14   reason," and that's part of this marketing agreement?     14   ever having a problem with anything that we were doing
15      A. Yes.                                                15   during the time that this agreement was in place and I
16      Q. Were you ever aware of SureTrader refusing to       16   guess right prior to when they increased their
17   open an account for any of your Warrior Trading           17   commissions.
18   customers?                                                18      Q. BY MISS JOHNSON: Okay. Can you describe how
19          MR. HALPIN: Objection.                             19   the rebate program was supposed to work under this
20          THE WITNESS: I seem to recall some people          20   marketing agreement?
21   having difficulty getting their application processed     21      A. Sure. So the idea with the rebate program
22   through SureTrader, hearing that it would take a long     22   was that at the time, a lot of U.S. traders were using
23   time, they were really slow. So I sort of recall that,    23   TD Ameritrade or E*Trade, and those brokers were still
24   wondering, is there something you can do to speed up      24   charging, like, eight, nine dollars per trade. They
25   the process? But I don't know that I ever heard of        25   were expensive. So SureTrader, while it did allow for

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 1   trading under PDT, it was also cheaper at what I think     1   that, but we didn't have it.
 2   was 4.95 per trade, up to a certain number of shares.      2       Q. Did you receive anything from SureTrader
 3           And so, you know, that was great as it was,        3   detailing how many Warrior Trading customers were going
 4   and then to make it even better, what we basically said    4   to them?
 5   was, you know, we've got a community of active traders.    5       A. Well, they did eventually send an e-mail, and
 6   Obviously, some of them are international, they would      6   I only remember the one, there may have been others,
 7   probably be looking for this type of broker anyway,        7   but I remember the one e-mail. They said, I don't
 8   especially since some of them can't open accounts in       8   know, it was about 100 people, or I don't remember how
 9   the U.S., you know, can we negotiate a group rate?         9   many it was, but they gave a number of how many people
10           And I brought that to them, hoping that we        10   had used it.
11   could, and we were able to. And so as we put it           11       Q. Other than that e-mail, did you receive
12   together, what we were able to tell students was,         12   regular updates about how many customers, Warrior
13   listen, we went on your behalf, we didn't get any         13   customers, were using the platform?
14   compensation for this, we went on your behalf to          14          MR. HALPIN: Objection.
15   negotiate this discounted rate with these different       15          THE WITNESS: I didn't see them. If we did,
16   brokers, if you want -- don't use it if you don't want,   16   I never saw them.
17   but if you use it, over the course of a year or however   17       Q. BY MISS JOHNSON: What was the benefit to the
18   many trades it is, you're going to be saving a dollar     18   Warrior Trading customers to use the rebate program?
19   for each trade. So if you do a thousand trades, you'll    19          MR. HALPIN: Objection.
20   save a thousand bucks. And the cost of -- the minimum     20          THE WITNESS: The benefit that they received
21   cost of the class that was eligible for this was about    21   were discounted commissions. It saved them money, so
22   $1,000.                                                   22   they got to trade with a lower commission. I guess it
23           So we thought this was kind of a nice idea,       23   was 3.95 per trade instead of the regular rate of 4.95
24   and it did work well with some of the other brokers,      24   per trade.
25   the U.S. brokers, and it seemed to work with well         25       Q. BY MISS JOHNSON: What was the benefit to

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 1   TradeZero, I guess, but I don't really know exactly.       1   SureTrader?
 2   With all of them, we weren't on the broker's side, so      2           MR. HALPIN: Objection.
 3   we got limited feedback as to how these were going or      3           THE WITNESS: SureTrader, the benefit was --
 4   how many people were signing up or what the process was    4   well, I think they were probably interested in not just
 5   at the broker-dealer of who to let in and who not to       5   our community, but the communities of many other active
 6   let in. So we didn't have a lot of insight to that,        6   traders, because active traders will generate
 7   but we thought -- we didn't get complaints about it, so    7   commissions, you know. A trader who is buying once or
 8   we thought this made sense for -- to continue              8   twice a month is 3.95 times 2, but a day trader who's
 9   expanding, and so that's kind of how it started.           9   trading, buying and selling, buying and selling, you
10       Q. So who was tracking the referrals, the             10   know, that's going to generate -- they might generate
11   referrals to SureTrader from Warrior Trading? How was     11   $100 of commissions a day. And I speculate, and I
12   that tracked?                                             12   shouldn't speculate, but I would think that would be
13           MR. HALPIN: Objection.                            13   more profitable to the client, but I couldn't really
14           THE WITNESS: We weren't tracking any of           14   say.
15   them. It made no difference to us, really, because we     15           MISS JOHNSON: Okay, you can take this down.
16   weren't getting any compensation for it. This was an      16       Q. BY MISS JOHNSON: How would a trader who was
17   agreement -- like, the stakes to me felt low, because     17   interested in participating in the rebate program with
18   this isn't even -- we're not getting paid, this is just   18   SureTrader go about doing that?
19   something we're negotiating on behalf of students. I'm    19           MR. HALPIN: Objection.
20   happy to do it, let's get it done, but the stakes were    20           THE WITNESS: The instructions that we laid
21   kind of low for me.                                       21   out were to e-mail SureTrader a copy of your receipt.
22           So I didn't really care -- we didn't have any     22   SureTrader can say, essentially, hey, I'd like to take
23   form of -- we didn't have, like, an affiliate dashboard   23   you up on the broker rebate program, and they would see
24   that I could log into and see how many students have      24   the receipt, and then they would change the commission
25   signed up or how many have clicked. They may have had     25   structure for that trader.

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 1       Q. BY MISS JOHNSON: After that occurred, did           1   your broker with SureTrader and Warrior Trading."
 2   Warrior Trading have any responsibilities under the        2          Do you see that?
 3   agreement?                                                 3      A. I do.
 4           MR. HALPIN: Objection.                             4      Q. And now if we go down to the second page,
 5           THE WITNESS: As far as we understood, I            5   there's a graph.
 6   think the spirit of this whole agreement was, yeah,        6          MISS JOHNSON: Can we go -- I want to go to
 7   we're going to put your name out there, we've got this     7   how it works. Can you show the whole -- I know there's
 8   promotion, our students will get a discounted rate, but    8   a page break. Can you show the whole graph?
 9   you're the broker-dealer, how are we possibly supposed     9          THE VIDEOGRAPHER: I'm sorry, what do you --
10   to know? It's your job to choose how to accept or         10          MISS JOHNSON: We'll stay on this page, and
11   decline someone to participate in that program.           11   then we'll go to the next page. There was a bad page
12           MISS JOHNSON: Okay. Can you show                  12   break on the graph. It says, "Receive $1 per trade
13   Exhibit 48.                                               13   rebate up to the total cost of your Warrior trading
14           (Deposition Exhibit 48 marked for                 14   course, and Mr. Cameron, if you could just read how it
15   identification.)                                          15   works, the first three steps.
16           MR. HALPIN: Miss Johnson, does this have a        16          THE WITNESS: Sure. "Purchase any trading
17   Bates stamp?                                              17   course from Warrior Trading." That's step one.
18           MISS JOHNSON: It does not.                        18          Step two, "Contact our account
19           MR. HALPIN: Has it been produced?                 19   representative, Drameko Moore."
20           MISS JOHNSON: It has not.                         20          I'm not sure if I'm pronouncing his name
21           MR. HALPIN: I'm going to object to the use        21   right.
22   of this document.                                         22          And then step three, let me scroll down, is
23           MISS JOHNSON: Okay.                               23   "Fund an account with SureTrader, $2,500 minimum."
24           MR. HALPIN: Is there a date?                      24      Q. BY MISS JOHNSON: Okay. Drameko Moore also
25       Q. BY MISS JOHNSON: I'm showing you what is a         25   gives his e-mail address, it says "drameko@suretrader."

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 1   web capture...                                             1   Is that found under step two?
 2          Do you recognize this, first of all?                2       A. Yeah.
 3       A. I do.                                               3       Q. Who was Drameko Moore?
 4       Q. What is this?                                       4       A. I understood that he would be the person that
 5       A. This looks like a screen capture from our           5   students would e-mail their receipt to at SureTrader.
 6   website, circa 2016, `17 maybe.                            6       Q. Was he...
 7          MISS JOHNSON: It was captured by the SEC in         7          Who was he employed by?
 8   May of 2017, if that helps everyone.                       8       A. I couldn't say with certainty, but he had a
 9       Q. BY MISS JOHNSON: What is this page?                 9   SureTrader e-mail. He wasn't a Warrior Trading
10          MR. HALPIN: Objection.                             10   employee.
11          THE WITNESS: So this is the page that...           11       Q. Okay. And if we go down to the next page,
12          I'm pretty sure, you know, this is the broker      12   see step four and five.
13   rebate page. So this is the page that outlines the        13          Okay. If you could read step four and five.
14   broker rebate program that I believe SureTrader           14       A. So "Get Rebate," step four, "Students receive
15   approved.                                                 15   $1 rebate per trade up to the total purchase price of
16          MISS JOHNSON: Okay. Can we go down to the          16   your Warrior Trading course."
17   second page.                                              17          Step five, "Congratulations. Your education
18          Okay. I'm sorry. Go back to the first. I'm         18   has been paid for and you are now using the best
19   sorry.                                                    19   trading platform."
20       Q. BY MISS JOHNSON: I'll read the title. It           20       Q. Okay. And then do you want to read about
21   says -- it's got the "Warrior Trading 100 percent         21   SureTrader, what it says there?
22   tuition rebate program." It has Warrior Trading logo      22       A. Sure. It says, "SureTrader, Division of
23   and the SureTrader logo. "Get your Warrior Trading        23   Swiss America Securities, is a Bahama-based
24   course paid for by your broker. Learn how to day trade    24   broker-dealer regulated by the Securities Commission of
25   and get your Warrior Pro trading course paid for by       25   the Bahamas. SureTrader is an online broker that

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 1   allows you to day trade freely with 6:1 leverage and no    1      A. Yep.
 2   pattern day trader rules for your account. Not             2      Q. And when was that?
 3   intended for U.S. persons," which is what they wanted      3      A. October 4th, 2016.
 4   us to add.                                                 4      Q. Does that refresh your recollection of who
 5       Q. Okay. When you say "they" wanted you to add,        5   Drameko is?
 6   who were you referring to?                                 6      A. Account rep, yeah.
 7       A. SureTrader.                                         7      Q. And what did you mean by account rep at
 8       Q. Did you run this "How it Works" graph by            8   SureTrader?
 9   anyone at SureTrader before you put it on your web         9      A. Well, he was the person who was...
10   page?                                                     10          As I kind of understood, he was going to be
11       A. I believe that this was -- this was the page       11   receiving these receipts, and he was going to try to
12   that we wanted them to sign off on before we made it      12   give people maybe a little bit more of a VIP account
13   public. So we didn't want to just, you know, put a        13   opening process so they might not have to wait in line
14   page out there without making sure they were on board     14   with, you know, all the commoners from Tim Sykes, you
15   with it, so we sent this to them and asked them for       15   know. I think the idea was, he was going to get -- you
16   their feedback.                                           16   know, help people sort of get in line a little bit
17       Q. Okay. And it says that their leverage was          17   more. I don't know if that happened.
18   6:1 leverage?                                             18      Q. Did Drameko Moore, did he ever enter your
19       A. That's correct.                                    19   chat room services?
20       Q. Are day traders in the United States allowed       20          MR. HALPIN: Objection.
21   to trade with 6:1 leverage?                               21          THE WITNESS: I don't -- I don't know if he
22           MR. MORGAN: Objection; calls for a legal          22   did. He may have. I'm not sure. I don't know. I
23   conclusion.                                               23   don't know.
24           THE WITNESS: Do you want me to go ahead and       24      Q. BY MISS JOHNSON: How were you alerted that a
25   answer?                                                   25   customer had reached out to Mr. Moore, Drameko Moore,

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 1           MR. MORGAN: Yeah, answer to your                   1   at SureTrader under this "How it Works"?
 2   understanding.                                             2           MR. HALPIN: Objection.
 3           THE WITNESS: My understanding, I have never        3           THE WITNESS: We really weren't alerted at
 4   used a U.S. broker that allowed 6:1 leverage. Most         4   all. You know, we didn't get an e-mail every time a
 5   U.S. brokers, it's 4:1 for intraday, 2:1 overnight with    5   client tried to open a SureTrader account. I mean,
 6   a leverage account -- or with a margin account.            6   there was zero feedback, which, you know, again, for --
 7       Q. BY MISS JOHNSON: What is the risk of trading        7   as far as we were concerned, we didn't feel we needed
 8   with 6:1 leverage compared to 4:1 leverage?                8   anything. We weren't getting paid, it was just -- you
 9           MR. HALPIN: Objection.                             9   know, we were kind of just saying, hey, if you want to
10           THE WITNESS: So the risk is amplified, and        10   use this tool, use it, these are the terms, figure it
11   this is an area where I talk extensively about the high   11   out with SureTrader, and that was that as far as we
12   level of risk in trading, period, and with leverage,      12   were concerned.
13   even more so. You have to first trade in a                13       Q. BY MISS JOHNSON: All right. About how many
14   simulator-approved profitability before trying to trade   14   customers, Warrior Trading customers, received the
15   with leverage of any kind, 6:1 no exception.              15   rebate from SureTrader?
16       Q. BY MISS JOHNSON: Okay. Let's go to the next        16           MR. HALPIN: Objection.
17   page.                                                     17           THE WITNESS: I couldn't say how many. I
18           It says, "How it Works. Step one, purchase        18   wouldn't -- I wouldn't be able to easily know, but
19   any trading course from Warrior Trading. Step two,        19   presumably, everyone that signed up would have been
20   e-mail our account rep at SureTrader and send him a       20   able to see that we had this program going on with
21   copy of your receipt. E-mail address                      21   SureTrader and with the other brokers. But I don't
22   drameko@suretrader.com. Only valid on purchases made      22   know how many people used it.
23   after 10-4-2016."                                         23           MISS JOHNSON: Okay. Let's move on to
24           Does that refresh your recollection of when       24   Exhibit 38, take a look at that.
25   the rebate agreement started?                             25           (Deposition Exhibit 38 marked for

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 1   identification.)                                          1   from Warrior Trading since referrals began last year.
 2       Q. BY MISS JOHNSON: And at the top, it says,          2   Thanks. Drameko Moore."
 3   "Commission Pricing." It's an e-mail from Ross Cameron    3           Do you see that?
 4   to Drameko Moore, dated January 27th, 2017 at 10:44       4       A. I do.
 5   a.m.                                                      5           MISS JOHNSON: Then you respond...
 6          "Hi, Justin and Drameko. I noticed the new         6           Whoops.
 7   website update. It shows pricing as one penny per         7           I think you need to go up a little. Okay.
 8   share. I want to confirm that our new students who        8           All right. Let's go to Exhibit 39.
 9   join are still going to get the 3.95 per share pricing    9           (Deposition Exhibit 39 marked for
10   with the broker rebate program. Let me know. Thanks,     10   identification.)
11   Ross."                                                   11       Q. BY MISS JOHNSON: This one is hard to read,
12          Did you write that?                               12   but that's how it was produced. If you look at the
13       A. Yeah, that sounds like something I would have     13   middle of the page, starting with "I'm sorry"...
14   written, yeah.                                           14           Go down a little bit.
15       Q. Okay. And then you have some e-mails back         15           I'm going to read the February 10th, 2017 at
16   and forth. Do you want to look at those? I'll call       16   10:47 a.m. Guy Gentile at guy@suretrader.com wrote,
17   your attention to the one at the bottom of the third     17   "Hi, Ross. Can you take this off your review?
18   page, Bates page 39.                                     18   Indictment was dismissed."
19       A. Is this the bottom of the third page?             19           Do you see that?
20       Q. It's Drameko's response to you. It starts         20       A. I do.
21   here, it says, "Hi, Ross," and then we have to go to     21       Q. At the time, did you know who Guy Gentile
22   the next page.                                           22   was?
23       A. Okay.                                             23       A. I did.
24       Q. It's from Drameko Moore to you. It's              24       Q. And what was your understanding of who he was
25   February 2nd, 2017 at 3:43, and Drameko writes,          25   at the time?

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 1   "I apologize for the delay on this matter, but we have    1       A. Sorry.
 2   just received confirmation that your students will        2       Q. Was it the same as what you testified
 3   remain under the $1 rebate deal with 3.95 base            3   previously?
 4   commissions, and the per share rate will be $0.01 as      4       A. Yeah, that's correct.
 5   per our new commissions structure."                       5       Q. Had you communicated with Guy Gentile prior
 6           Do you see that?                                  6   to this e-mail?
 7           And then let's see what you responded if we       7       A. I don't even remember this e-mail, but as I
 8   go down.                                                  8   see it, yeah, it refreshes my memory. So I only
 9           At February 2nd, 2017 at 4:11, Ross Cameron's     9   specifically remember one time ever speaking with Guy
10   responds to Drameko and ccs Justin Ritchie, "Hi,"        10   Gentile on the phone, and I don't remember that we had
11   Justin and -- "Drameko and Justin. Okay. Glad to hear    11   e-mails going back and forth. So this is definitely an
12   it. Thank you. We'll keep sending traffic your way.      12   outlier. I don't know if there's any others like this.
13   Do you know how many students are taking advantage of    13   It was not part of our -- we didn't communicate.
14   the program now? Talk soon. Ross."                       14       Q. Okay. And the one time you spoke with Mr.
15           Do you recall writing that to him?               15   Gentile on the phone, was it this subject matter?
16        A. To be honest, I don't remember sending the       16       A. No.
17   e-mail, but as I read it, it's very plausible and it     17          MR. HALPIN: Objection.
18   looks like it was sent by me, so I take your word for    18          THE WITNESS: It wasn't.
19   it that I sent that e-mail.                              19       Q. BY MISS JOHNSON: Okay. I'll circle back and
20        Q. That's your e-mail address, rosspcameron?        20   ask you about the subject matter, but let's finish this
21        A. It is.                                           21   exhibit.
22        Q. Okay. And Drameko writes back the next day,      22          If you go down on Mr. Gentile's e-mail to
23   on February 3rd, 2017, at 2:09 p.m., Drameko Moore to    23   you, it has a Bloomberg site, and then it says "Update
24   Ross Cameron, "Sounds great, Ross. We estimate that we   24   to SureTrader Review. Update: We have discovered that
25   have 100 or so new accounts or pending applications      25   Guy Gentile, the founder of SureTrader, was indicted

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 1   for penny stock manipulation. At this time, there are      1   call, but it might have been Justin or Drameko.
 2   no indictments against SureTrader specifically, nor        2   Someone said, hey, I need to get you on a call. What
 3   anything to suggest that SureTrader was involved in any    3   is this? What is this?
 4   wrongdoing. We will continue to follow this headline."     4          So I got on the call.
 5          Is that...                                          5          Excuse me.
 6          Where was that -- it says "Update to                6          And then Guy was on the conference call, and
 7   SureTrader Review." Where was that SureTrader review       7   I wasn't expecting that at all. No one said he was
 8   posted?                                                    8   going to be on the call.
 9       A. That was on our website.                            9          And, you know, to be honest, I was -- you
10       Q. Okay. And that is the review that Mr.              10   know, I was happy to take the thing off his review,
11   Gentile was asking if you could take it off?              11   because we've sued a lot of people for defamation, we
12       A. Yeah.                                              12   don't want to say something out of turn, and we were
13       Q. And then you respond at the top here, "Hey,        13   happy if it got thrown out, but we would -- you know,
14   Guy. Pages have been updated. Happy to be able to         14   okay, seems like it was resolved. We don't want to
15   remove that."                                             15   step on anyone's toes. That's not what we do, so...
16          Do you see that?                                   16          But I also didn't really feel like being
17       A. I do.                                              17   chummy. I just was like, I don't know.
18          MISS JOHNSON: All right. Let's go to               18          So anyways, I was surprised, and, yeah, I
19   Exhibit 39.                                               19   didn't even remember the Mint conversation, but there
20          THE VIDEOGRAPHER: That is 39.                      20   was some conversation, I guess, about they were going
21          MISS JOHNSON: Sorry. Go down near the              21   to set up -- it seemed like a competitor of Warrior
22   bottom of page 13.                                        22   Trading, to be honest, but it sounded like an active
23          That's it. Thank you.                              23   trader social -- you know, stock Twitter version with
24       Q. BY MISS JOHNSON: Friday, January 27th, 2017        24   education and stuff like that, and he expressed
25   at 2:08 p.m., Guy Gentile writes to you, Hey, Ross --     25   interest in buying Warrior Trading and having me

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 1   "Hi, Ross. Thanks for getting back to me. I totally        1   somehow be involved with that, either the different
 2   understood, and I don't think there will be any            2   brand...
 3   conflicts with investors as it's a social trading          3          You know, it was just sort of throwing ideas
 4   platform. I'll keep in touch and maybe we can do a         4   out there, which came unsolicited and I was surprised
 5   traders conference in the Bahamas in the spring."          5   by, but, you know, it was flattering. I was glad
 6          And you wrote -- that was in response to --         6   someone was interested, I guess, but it wasn't
 7   on January 27, 2017 at 2:07, Ross Cameron wrote, "Hey,     7   something I was interested in, but -- you know, not
 8   Guy. Good to talk to you last week. I wasn't               8   even close.
 9   expecting I'd be speaking with you. I talked with our      9      Q. BY MISS JOHNSON: Was SureTrader -- was the
10   team, and I think your ideas for the MintGroup are very   10   indictment discussed in that call?
11   interesting. Right now we aren't in a place where it      11          MR. HALPIN: Objection.
12   makes sense to sell Warrior Trading or to distribute      12          THE WITNESS: I don't recall that coming up.
13   our content under a different brand."                     13   I don't remember...
14          Do you see that?                                   14          No, and I don't know how close this was to
15       A. I do.                                              15   when that e-mail went on, but -- no, I don't remember.
16       Q. Is that what the phone call -- the subject of      16   I don't remember that. Yeah, I don't recall him saying
17   the phone call that you were discussing that you just     17   anything about it. I think it was focused on, you
18   talked about?                                             18   know, this new project he was working on, and I don't
19       A. It was.                                            19   know if there was some niceties at the beginning, I've
20          MR. HALPIN: Objection.                             20   been through a lot, I'm glad it's over with, I don't
21       Q. BY MISS JOHNSON: What did you discuss in           21   know. Maybe. But beyond that, I don't remember.
22   that phone call, according to this e-mail, that took      22      Q. BY MISS JOHNSON: Okay. Other than this
23   place a week before January 27th, 2017?                   23   e-mail, was there any other response to the call with
24          MR. HALPIN: Objection.                             24   Mr. Gentile?
25          THE WITNESS: I don't remember who set up the       25      A. I didn't even recall this e-mail, so my

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 1   recollection of responses from 2016, `17 seems limited.    1   misleading with negative information and represent an
 2   If you show me one that would recollect my memory,         2   absolute false facts based on assumptions to your
 3   probably, but I don't remember. And, yeah, I don't...      3   attention. It is clearly sending a misguided message
 4          I mean, so...                                       4   to an audience of satisfied traders, but also to many
 5          What was the question again?                        5   potential traders seeking to open a trading account
 6       Q. If there was any follow-up after this e-mail        6   with our company."
 7   with Mr. Gentile about the subject.                        7           Did you know what Mr. Frantz was referring to
 8       A. About the subject of him buying Warrior, no,        8   there?
 9   I don't think so.                                          9           MR. HALPIN: Objection.
10       Q. Any other calls that you recollect other than      10           THE WITNESS: I'm not sure what specifically
11   that one with Mr. Gentile?                                11   he was referring to. I mean, as I said, we always kind
12       A. No.                                                12   of tried to keep on a very safe side of the line of
13       Q. Okay. Let's turn to Exhibit 40.                    13   being -- this is why I don't do it on Twitter. I don't
14          (Deposition Exhibit 40 marked for                  14   do anything controversial, I don't try to poke at
15   identification.)                                          15   people, make fun of people, I don't say mean things.
16       Q. BY MISS JOHNSON: Okay. This is an e-mail           16   So it almost seems like he's upset about maybe a
17   from Ticker TV, support admin at Ticker TV, sent on       17   comment down below, but I don't know.
18   2-15-2017 --                                              18       Q. BY MISS JOHNSON: What was Warrior Trading's
19       A. Um-hmm.                                            19   response, if any, to this e-mail?
20       Q. -- to Jeff, Sean, and Ross Cameron at              20       A. I can't recall.
21   daytradewarrior@gmail.com.                                21           MISS JOHNSON: Okay. Do you want to take our
22          Is that one of the e-mails you used?               22   seven-minute break?
23       A. It was, yeah.                                      23           MR. MORGAN: Yes.
24       Q. And it says, "Seems SureTrader is having           24           MR. HALPIN: Fine with me.
25   issues with our review on Ticker TV. Administrator,       25           THE VIDEOGRAPHER: The time is now 4:08 p.m.

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 1   Ticker TV."                                                1   Going off the record.
 2           Who or what is Ticker TV?                          2                            (Recess.)
 3       A. That was a -- it was a website that had been        3           THE VIDEOGRAPHER: We're back on the record.
 4   running for a while as sort of like a streaming            4   The time is now 4:16 p.m.
 5   website, almost like Twitch for stocks, and someone        5           MISS JOHNSON: Thank you.
 6   else had gotten it up and running, and it was doing        6           Could you call up what's been premarked as
 7   reasonably well, and we decided to buy it.                 7   Exhibit 41, Plaintiff's Exhibit 41.
 8           Anyways, it wasn't very successful, but we         8           (Deposition Exhibit 41 marked for
 9   owned it for a period of time, and now we've shut it       9   identification.)
10   off, so it's not still active. But, yeah, there was a     10      Q. BY MISS JOHNSON: Okay. It appears to be an
11   review of SureTrader on that website.                     11   e-mail from Drameko Moore at drameko@suretrader.com,
12       Q. What period of time did you own Ticker TV?         12   dated March 21st, 2017, subject, SureTrader Commission
13       A. I don't remember when we bought it.                13   Plan, to Warrior Trading, team@warriortrading, cc
14   Technically, we still own it, we just -- it's just an     14   activetrader@suretrader.
15   empty website. I think it redirects to Warrior or         15           It says, "Hello, Ross. I've met"...
16   something. It's not active. But during this time, we      16           First of all, is team@warriortrading, would
17   had -- if we were receiving that e-mail, then we owned    17   you have been cc'd on that e-mail? Who does that go
18   it at that time.                                          18   to?
19       Q. Okay. It looks like you wrote -- or Ticker         19      A. It goes to our ticketing system for customer
20   TV said this to you as a response from the e-mail below   20   support, but I would have been -- I recall this, and it
21   it. It says from Yaniv Frantz, yaniv@suretrader.com.      21   was offensive.
22   The date is February 15 of 2017. "Subject: Comment on     22      Q. Okay. We'll get into that in a minute.
23   your website." "Dear Ticker TV, I am writing you this     23           It says, "Hello, Ross. I met with management
24   e-mail today, as it came to our attention that your       24   on this matter once again, and the offer that was given
25   website wrote a review but also allowing posts that are   25   to you below is not up for negotiation. In fact, we

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 1   have moved to negate any discounted rates to your          1       A. Okay.
 2   students going forward and will simply offer monthly       2       Q. Were you aware prior to this e-mail about the
 3   rebate credits to each WT registered account based on      3   number of new accounts that SureTrader had registered
 4   the amount of trades they make within that month."         4   under Warrior Trading?
 5           You already answered that you recall this and      5          MR. HALPIN: Objection.
 6   that it was offensive. What did you find offensive         6          THE WITNESS: No, I don't think so. I don't
 7   about this e-mail?                                         7   think there's any way I would have been aware of that.
 8        A. This seemed to me to come out of nowhere. It       8       Q. BY MISS JOHNSON: Okay. Who was keeping
 9   was like, you know, this is not up for negotiation,        9   track of those numbers?
10   like, who starts an e-mail like that? I mean, this is     10          MR. HALPIN: Objection.
11   just -- I don't even know. It's rude, and you know        11          THE WITNESS: That was something that they
12   what? It's kind of like, why are we sending you any       12   were managing on their side, presumably.
13   traffic at all if this is how you're going to treat our   13       Q. BY MISS JOHNSON: And --
14   customers? Again, we're not making any money on this,     14       A. It wasn't us.
15   so, you know, we're trying to help out students, and      15       Q. -- we're in 2017 now. Were you getting
16   then I get an e-mail like this that basically just        16   notice when a new account was opened at SureTrader that
17   says, hey, we're jacking up the commissions by whatever   17   had been referred from Warrior Trading?
18   percent, 20, 30 percent for all of your students. I       18          MR. HALPIN: Objection.
19   mean, it's even higher than that, actually, because       19          THE WITNESS: Not that I'm aware of.
20   it's at one penny per share. A thousand shares is         20       Q. BY MISS JOHNSON: Did you have any control
21   going to cost 14 bucks, based on my math here.            21   over when SureTrader would open an account for a
22        Q. Explain what you mean by "it came out of          22   customer through the Warrior Trading rebate program?
23   nowhere."                                                 23          MR. HALPIN: Objection.
24        A. You know, as far as I understood, you showed      24          THE WITNESS: No.
25   us that e-mail from Yaniv, so there was that. I don't     25       Q. BY MISS JOHNSON: What did you think about

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 1   know how that got resolved. But then, you know, this       1   the changes to the rebate structure that Drameko was
 2   comes up. We didn't get -- I don't recall having           2   laying out?
 3   complaints that, you know, we weren't -- you know,         3           MR. HALPIN: I'm going to object. The
 4   aside from the issue with that review, I don't know, it    4   witness testified he doesn't recall this e-mail.
 5   just seems -- like, I didn't understand where this was     5           MISS JOHNSON: I didn't ask him about this
 6   really coming from. This doesn't seem like a good          6   e-mail. I asked him about his thoughts on the changes
 7   business decision. Why would you take customers who        7   to the rebate structure that Drameko is laying out.
 8   are seemingly happy and then say, hey, I'm going to        8           MR. HALPIN: In this e-mail?
 9   increase your rate by 30 or 50 percent or whatever it      9           MISS JOHNSON: In the prior one. This one
10   is.                                                       10   and the prior one.
11       Q. Okay. If we scroll down to Bates page 4 of         11           MR. HALPIN: Objection.
12   the document, third page of this document, I believe...   12           THE WITNESS: I thought that it was a bad
13          It's dated Tuesday, March 21st, 2017.              13   business decision.
14   Drameko Moore wrote, "Hello, Ross. Since this deal has    14       Q. BY MISS JOHNSON: Okay. Did you respond to
15   begun midway through last year's fourth quarter, we       15   Drameko about this?
16   have registered approximately 150 new accounts under      16       A. I would be surprised if I didn't, but I don't
17   Warrior Trading, which is okay but could be better.       17   remember what I said.
18   Right now management has offered one of the three         18           MISS JOHNSON: Let's go to Exhibit 42.
19   options as the official Warrior Trading deal going        19           (Deposition Exhibit 42 marked for
20   forward."                                                 20   identification.)
21          Do you recall him writing that?                    21       Q. BY MISS JOHNSON: This is an e-mail from Ross
22       A. I don't. Is this e-mail before the last one,       22   Cameron sent on 3-21-2017 to guy@suretrader.com,
23   or does it come after?                                    23   subject, SureTrader commission plan. You write, "Hey,
24       Q. It's March 21st, 2017, prior to the one that       24   Guy."
25   we just looked at.                                        25           Who were you referring to when you say "Hey,

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 1   Guy"?                                                      1   rebate program, but that didn't mean that U.S. traders
 2       A. Guy Gentile.                                        2   wouldn't end up signing up and using SureTrader anyways
 3       Q. "I hope your doing well. I wanted to touch          3   because they were a tool that helped them trade below
 4   base with you on an issue we are having. I'm not sure      4   PDT.
 5   if you're aware, but Drameko has been working as the       5          So they were getting good exposure from us,
 6   Warrior Trading representative for our students who        6   and, yeah, I felt a bit offended that they wanted to do
 7   join SureTrader as part of the broker rebate program we    7   this.
 8   built together. Since SureTrader made a change in          8       Q. BY MISS JOHNSON: Were you able to come to
 9   commission structure to .01 per share, Drameko has         9   some arrangement with SureTrader regarding the rebate
10   informed us that SureTrader is making a change in the     10   program after the date of this e-mail?
11   rebate program that was made available for our            11          MR. HALPIN: Objection.
12   students."                                                12          THE WITNESS: I don't recall.
13           Does this refresh your recollection about         13       Q. BY MISS JOHNSON: When did the rebate program
14   what you did next in relation to the changes Drameko      14   with SureTrader stop?
15   was suggesting?                                           15       A. I'm not sure when we stopped promoting it,
16       A. This is classic. I jumped over Drameko's           16   and I also don't know when they would have stopped
17   head. I went to the top, and I was obviously hoping       17   accepting students who sent them receipts. So I
18   that I'd find a different answer, but I don't recall      18   couldn't say for sure off the top of my head.
19   what the answer ended up being.                           19       Q. Was the rebate program still occurring at the
20       Q. Okay. So what are you asking Mr. Gentile to        20   time this e-mail was written?
21   do here?                                                  21          MR. HALPIN: Objection.
22           MR. MORGAN: Objection; vague.                     22          THE WITNESS: I think that it was in limbo.
23           THE WITNESS: I'm not sure what I'm asking.        23   I think that it was, but we were all of a sudden
24   I'd have to reread this e-mail.                           24   realizing that we had to unwind it or change our
25       Q. BY MISS JOHNSON: Let me direct you to the          25   communication around it or make some decision fairly

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 1   paragraph that says, "Since we sent hundreds of            1   quickly.
 2   students"...                                               2       Q. BY MISS JOHNSON: Okay. Let's look at
 3           Do you see that, four from the top?                3   Exhibit 32. I do have a Bates stamp for you. It's
 4       A. Yep.                                                4   SEC-SECWEBCAPTURE-E-0000356-370. Four zeros.
 5       Q. "Since we sent hundreds of students to              5           (Deposition Exhibit 32 marked for
 6   SureTrader and actively promoted your firm to all of       6   identification.)
 7   our students, we asked Drameko if our students could be    7       Q. BY MISS JOHNSON: Do you recognize this, Mr.
 8   priced at .009 to save a dollar per 1,000 shares up to     8   Cameron?
 9   the purchase price of their course (2497)."                9       A. I do.
10           Do you see that?                                  10       Q. What is this?
11       A. I do.                                              11       A. This is a review that we wrote about
12       Q. Does that refresh your recollection for what       12   SureTrader.
13   you're asking Mr. Gentile?                                13       Q. Okay. And where was it posted?
14       A. Yeah.                                              14       A. This would have been posted on our website,
15       Q. When you say that you promoted your firm to        15   in our blog.
16   all of your students, did that include students           16       Q. Okay. And who was the author of this review?
17   residing in the United States?                            17       A. I see it says I'm the author, but I'm not
18           MR. HALPIN: Objection.                            18   sure that I actually wrote it, because we had people on
19           THE WITNESS: So, you know, again, I would         19   our team that would write things. So I'm not sure, and
20   say that I talked about SureTrader all the time. I had    20   I haven't read this review in a very long time, so I'll
21   used SureTrader, I had been at one point happy with       21   have to -- as I read through it, as you show it to us,
22   them, and I did talk about them as a tool that I used     22   maybe it will jog my memory of who might have written
23   and that U.S. -- they accepted me as a U.S. trader. I     23   it.
24   knew they accepted U.S. traders. I understood U.S.        24       Q. Let's go...
25   traders were not allowed to participate in the broker     25           You see the front page. Let's go to the

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 1   second page, and there's a summary there, and then it      1       A. This is the broker rebate info graph.
 2   says near the bottom "SureTrader Review, The Good, the     2       Q. And is this similar to the chart we saw
 3   Bad, and the Ugly."                                        3   earlier?
 4       A. Yeah.                                               4       A. It appears to be the same.
 5       Q. Do you see that?                                    5       Q. Okay. And then if we go to the end, page 10,
 6           Let's go down to the next page.                    6   it says, "Final Thoughts on SureTrader. SureTrader is
 7           Do you see the paragraph that's three down,        7   actually one of the leading online brokers for day
 8   "Initially, most traders"...                               8   trading with a multitude of features, advantages, and
 9       A. I do.                                               9   benefits. You should definitely giving them a shot.
10       Q. Okay. And it says, "Initially, most traders        10   Just make sure you know their trading rules and
11   are skeptical about opening an offshore account. I        11   regulations thoroughly. They have good, but sometimes
12   was, too. I felt better about opening this account        12   slow, customer service, but will answer any of your
13   after realizing that SureTrader is the sister company     13   questions or concerns. If you're under 23k and looking
14   to Speedtrader, a well respected U.S. broker with ten     14   for a solid broker to day trade with, SureTrader has
15   years in the industry. You can read our review of         15   everything you need, so it's worth checking them out."
16   Speedtrader here. Speedtrader is for U.S. residents       16          Is that what you wrote?
17   only and does not accept international traders, while     17       A. That sounds right. I don't know if some of
18   SureTrader accepts both U.S. and international            18   this was written -- this may have been written over
19   traders."                                                 19   various periods of time where we went back and updated
20           Does this refresh your recollection about who     20   a section, we updated the commission and we
21   authored this account?                                    21   decreased -- I think we took a star off the review.
22       A. Yeah, this looks like something that I would       22   When commissions went up, a star came off. So we did
23   have written.                                             23   from time to time make a change. So the review may
24       Q. Okay. So it says, I opened -- "I was, too.         24   have been originally written and may have been a lot
25   I felt better after I opened this account"...             25   shorter, and then, you know, over the years we added

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 1          Is that you?                                        1   some substance to it.
 2       A. Yes.                                                2       Q. Okay. But this was your recommendation at
 3       Q. Okay. And then you continue, "Over the              3   the time it was written?
 4   years, I have traded with SureTrader during several of     4          MR. HALPIN: Objection.
 5   my small account challenges. In 2016, I funded a           5          THE WITNESS: Yes.
 6   $1,000 account and turned it into $8,653 in one month.     6       Q. BY MISS JOHNSON: Okay. How long was this
 7   Then in 2017, I funded a" 5,800...                         7   SureTrader review posted on your website?
 8       A. $583.                                               8       A. I don't know. I'm not sure.
 9       Q. Thank you.                                          9       Q. Did there come a time when you stopped
10          ..."and turned it into over 100k in 44 days.       10   recommending SureTrader?
11   In fact, I traded with SureTrader until I broke 25,000,   11       A. Yes.
12   and then I moved my money to their sister company in      12       Q. When was that?
13   the United States."                                       13       A. I'm not sure the date of it, but the problem
14          Do you see that?                                   14   was, we didn't -- we no longer felt good about
15       A. I do.                                              15   SureTrader in some ways, but they also remained sort of
16       Q. The last sentence, "If I had funded an             16   the only option. So it felt unfair that they were
17   account with a U.S. located broker with $853, I would     17   taking, I felt, advantage of that situation by charging
18   not have been able to day trade until I exceeded the      18   commissions as high as they were, knowing that people
19   25k."                                                     19   couldn't really go anywhere else. But at the same
20       A. Yes.                                               20   time, it was still a tool that was a good tool if you
21       Q. Is that correct?                                   21   wanted to trade with a smaller account. You just had
22       A. It is.                                             22   to be a lot more picky about how many times you were
23       Q. Okay. And then let's go to the next page.          23   willing to trade, because commissions would add up.
24          Again we see...                                    24          MISS JOHNSON: Okay. Can you call up
25          What is this chart? I'll ask you.                  25   Plaintiff's Exhibit 43, please.

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 1           (Deposition Exhibit 43 marked for                  1   drafted, a cease and desist, and sent it to SureTrader
 2   identification.)                                           2   demanding that they stop making defamatory comments
 3       Q. BY MISS JOHNSON: This is an e-mail from Ross        3   about us, or remove the stuff they posted about us.
 4   Cameron at rosspcameron@gmail.com, sent on 7-17-2017 to    4      Q. Okay. And did you receive, you or your
 5   Jeff and Alex at warriortrading.com, Subject,              5   lawyer receive a response to that cease and desist?
 6   "SureTrader Review."                                       6      A. Not that I recall.
 7           And it says, "Referring probably to our            7      Q. Was the posting changed or taken down?
 8   updated review where we no longer recommend them," and     8      A. No, I don't think it was until they went out
 9   then there was a forwarded message from Yaniv Frantz at    9   of business, as far as I know.
10   SureTrader on that same date to you, saying, "Good day,   10      Q. Okay.
11   Ross. Hope you had a good weekend. I'm writing you        11      A. It was hurtful, you know. It was, like...
12   today in regards to a new review I noticed you posted     12          I don't know.
13   about SureTrader. I tried to call the number on your      13      Q. Did you speak to anyone other than -- or
14   website a few times to discuss this with you. However,    14   communicate with anyone other than Yaniv Frantz about
15   no one was there to take the call."                       15   that posting?
16           Do you remember this e-mail?                      16      A. Not that I recall.
17       A. I don't...                                         17      Q. Okay. Do you recognize a Warrior Trading
18           The e-mail is familiar and it is reminding me     18   customer or student by the name of Steven Derong?
19   of a sequence of e-mails that followed going back and     19          MR. HALPIN: Objection.
20   forth with Yaniv.                                         20          THE WITNESS: How does he spell his last
21       Q. Okay. What do you recall about those               21   name?
22   e-mails?                                                  22          MISS JOHNSON: D-e-r-o-n-g.
23       A. This led -- and I don't...                         23          THE WITNESS: I don't remember that specific
24           So when this was sent? July 17th?                 24   student off the top of my head.
25           This was all self-inflicted on their part.        25      Q. BY MISS JOHNSON: What about a student named

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 1   They increased their commissions. We then made note of     1   Macen Aghn?
 2   that in the review. They lost a star because the cost      2           MR. HALPIN: Objection.
 3   was higher, and then he was e-mailing me to complain.      3       Q. BY MISS JOHNSON: Do you recognize that name?
 4   Then he drafts up his own review of Warrior Trading and    4       A. How is it spelled? Because I read them in
 5   says, are you ready to talk now? And his review was        5   e-mail.
 6   just blatantly defamatory, and it led to us sending a      6       Q. I believe it's M-a-c-e-n is the first name,
 7   cease and desist, trying to tell him to knock it off.      7   Aghn, A-g-h-n.
 8   And it was all self-inflicted on their part. I don't       8       A. I'm not sure.
 9   know why they did any of it.                               9       Q. Let me just look at my notes.
10       Q. This review of Warrior Trading, where was          10           Have you had any conversations with anyone
11   that posted?                                              11   from SureTrader since after they closed?
12       A. I'm not sure.                                      12       A. No.
13       Q. Did you ever speak with Mr. Yaniv or anyone        13           MR. HALPIN: Objection.
14   at SureTrader about that?                                 14           THE WITNESS: No. No, not that I --
15       A. I did not, not on the phone.                       15   certainly not that I can recall, not from SureTrader.
16          MR. HALPIN: Objection.                             16   I also stopped doing business with Speedtrader, because
17          THE WITNESS: Not that I recall.                    17   I just didn't want to deal with any of it. I just
18       Q. BY MISS JOHNSON: Okay. And what was the            18   moved on.
19   subject of the cease and desist letter that you just      19           MISS JOHNSON: Okay. I think that's all I
20   talked about?                                             20   have.
21          MR. HALPIN: Objection.                             21           THE WITNESS: Okay.
22       Q. BY MISS JOHNSON: Who said what to whom?            22           MR. HALPIN: Can we...
23       A. Sorry. I thought I heard one of the                23           Thanks. Can we...
24   attorneys saying something.                               24           I don't know how everyone feels. Can we go
25          That was something that our attorneys              25   off the record?

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 1          MISS JOHNSON: Why don't we take a                   1      Q. Is it fair to say you're not approving every
 2   five-minute break and just talk.                           2   single message that's sent within the chat room?
 3          THE VIDEOGRAPHER: The time is now 4:42 p.m.         3      A. Certainly not.
 4   Going off the record.                                      4      Q. So if...
 5                              (Recess.)                       5          Strike that.
 6          THE VIDEOGRAPHER: The time is now 5:02 p.m.,        6          So you said you also have a YouTube presence;
 7   and we're on the record.                                   7   correct?
 8          MR. HALPIN: Miss Johnson, do you have any           8      A. Correct.
 9   more questions for the witness?                            9      Q. And what type of content do you post to the
10          MISS JOHNSON: I'm sorry, no. I tender the          10   YouTube channel?
11   witness to you.                                           11      A. I post recaps of my trading days, both green
12          MR. HALPIN: Thank you.                             12   days and red days, and I post general educational
13                   EXAMINATION                               13   content about day trading and the financial markets in
14   BY MR. HALPIN:                                            14   general.
15       Q. Hello, Mr. Cameron.                                15      Q. Does that include any recorded excerpts from
16       A. Hi.                                                16   your chat rooms?
17       Q. As we mentioned at the outset, I'm Steve           17      A. Rarely, but occasionally.
18   Halpin. I'm with the firm Ford O'Brien Landy, who         18      Q. And you said other content, instructional
19   represents Guy Gentile on this matter. I just have        19   content?
20   some questions for you. I'm going to try to do this as    20      A. Yes.
21   efficiently as possible. I want to be cognizant of        21      Q. And how long have you run the YouTube
22   your time.                                                22   channel?
23          The same general ground rules that Miss            23      A. Since 2013.
24   Johnson laid out before apply, with the caveat I may be   24      Q. And is that accessible by anyone?
25   asking you some questions that really just call for a     25      A. It is.

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 1   yes or no answer, so if I move on, it's not because I'm    1       Q. Accessible by anyone in the world?
 2   being discourteous, again, just kind of in the interest    2       A. Yes, as far as I know. I think so.
 3   of time, but I obviously want to give you a chance to      3       Q. And do you recall in any of the content
 4   respond. Does that all make sense?                         4   that's posted to YouTube, are there references to
 5        A. Yes.                                               5   SureTrader?
 6        Q. Great. I want to talk a little bit about how       6       A. There likely are.
 7   your various -- kind of the way you put out content for    7       Q. Would you have ever referenced SureTrader on
 8   Warrior Trading works. You testified about a chat room     8   something that was posted on YouTube?
 9   earlier. Do you recall that?                               9       A. Sure.
10        A. Yes.                                              10       Q. I think you mentioned earlier, as well, that
11        Q. Do you recall testifying that the chat room       11   you have trading accounts with a few different
12   is limited to who can access it?                          12   international brokerages; is that correct?
13        A. Yes.                                              13       A. Yes.
14        Q. And could you explain again who can access        14       Q. And what are those brokerages?
15   the chat room that you run.                               15       A. Are you asking about my personal trading
16        A. Paid members.                                     16   accounts, or broker programs?
17        Q. And are those members just U.S. residents?        17       Q. The personal accounts first, yes.
18        A. No.                                               18       A. I have a personal account at CMEG, Chapter
19        Q. Do they include international traders?            19   Markets Elite Group, and I had a personal account at
20        A. They do.                                          20   SureTrader.
21        Q. And in that chat room, can anyone who is in       21       Q. Did you have a personal account at TradeZero
22   the chat room post content or leave comments?             22   ever?
23        A. Yes.                                              23       A. I did not.
24        Q. And do you moderate what those messages are?      24       Q. And for what reason do you have an account at
25        A. Yes, to a certain extent.                         25   CME Group?

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 1       A. I use the CMEG account in the same way that I       1           Well, let me ask you this way: You testified
 2   used the SureTrader account, for doing a small cap         2   earlier about communications with Guy Gentile. Can you
 3   challenge, trading with 500 or 1,000 dollars or 2,000,     3   just explain again approximately how many total times
 4   whatever it was.                                           4   you think you've communicated with Mr. Gentile?
 5       Q. And you mentioned a potential referral or           5       A. I only remember speaking with him on the
 6   rebate program with other international brokerages.        6   phone once, and I didn't recall ever having e-mail
 7   Does Warrior Trading have such programs with any           7   communication with him until I saw that e-mail today.
 8   international brokerages other than SureTrader?            8   So any communication I had with him certainly didn't
 9       A. We did have one with CMEG and we had one with       9   stand out, but it was very limited.
10   TradeZero.                                                10       Q. Did you ever meet him in person?
11       Q. Okay. And were those -- as far as you are          11       A. No.
12   aware, did those entities have to abide by the pattern    12           MR. HALPIN: Can we pull up what we've marked
13   day trading rule?                                         13   as Exhibit 1. And this I think is very similar to
14       A. I don't believe either of those enforced the       14   something we were looking at earlier, but we can pull
15   PDT rule. I'm certain on CMEG, but I didn't use           15   it up and take a look here.
16   TradeZero, so I don't know exactly what their policy      16           THE VIDEOGRAPHER: Would that be Exhibit 34?
17   was.                                                      17           MR. HALPIN: I don't know if it's identical,
18       Q. Under Warrior Trading's arrangements with          18   so I just prefer to use what we've prepared. Just bear
19   those brokerages, would Warrior Trading receive any       19   with us for a minute. All right.
20   type of payment for a referral to one of those?           20           (Deposition Exhibit 1 marked for
21       A. Nope.                                              21   identification.)
22       Q. And just talking about the pattern day             22       Q. BY MR. HALPIN: Mr. Cameron, do you recall --
23   trading rule, the PDT rule a little more broadly, what    23   this appears to be an e-mail, a top e-mail dated
24   is your understanding of who that applies to?             24   August 23rd, 2016 from Ross Cameron,
25       A. Well, I understand that it's enforced by U.S.      25   ross.p.cameron@gmail.com, to Justin Ritchie, Alex at

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 1   brokers, so I think that it applies to anyone who opens    1   warriortrading.com, and Jeff at warriortrading.com.
 2   an account with a U.S. broker. But I'm not an              2           Do you see that?
 3   attorney, so, you know, this is my understanding, but I    3        A. I do.
 4   think that when an international customer goes to          4        Q. And do you recall this e-mail?
 5   Lightspeed or E*Trade or Ameritrade, even though           5        A. Yeah, I believe we looked at it earlier, and
 6   they're international, they're forced to follow that       6   it looks familiar, yes.
 7   same PDT rule.                                             7        Q. And do you see where it says, "I wanted to
 8       Q. So would you agree that the PDT rule is             8   reach out"...
 9   imposed on brokerages?                                     9           It says, "Hi, Justin. I wanted to reach out
10          MR. MORGAN: I object as Mr. Cameron is not         10   to see if you'd be interested in working together to
11   an attorney, but go ahead and give your understanding,    11   promote SureTrader among the Warrior Trading
12   Mr. Cameron.                                              12   community."
13          THE WITNESS: My understanding is, it is a          13           Do you see that?
14   rule that brokerages follow, so any customers have to     14        A. I do.
15   follow it by default.                                     15        Q. So as of that date, August 23rd, 2016, did
16       Q. BY MR. HALPIN: And I think you mentioned...        16   Warrior Trading have a prior agreement with SureTrader?
17          Well, let me ask you this: So why, in your         17        A. No. No, not that I'm aware of. I don't
18   opinion, would an international trader look for a non     18   think we would have had anything prior to this date.
19   U.S. broker or broker that isn't registered with FINRA?   19        Q. And you go on to say, "We have just launched
20       A. An international trader, a non U.S. trader,        20   a rebate program with Speedtrader and we'd love to have
21   would probably not want to subject themselves to the      21   a similar arrangement with SureTrader," and skipping
22   U.S. PDT rule thus requiring a $25,000 minimum balance    22   down to the next line, "Speedtrader appeals to U.S.
23   and would be much more likely to use an international     23   residents with over 25k, but we'd like an arrangement
24   broker, any international broker.                         24   that appeals to international traders, as well."
25       Q. I think you testified earlier that...              25           Do you see that?

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 1       A. I do.                                               1       A. I don't recall that.
 2       Q. Do you recall why you wrote that phrase,            2       Q. If you look at an e-mail from you to Mr.
 3   "we'd like an arrangement that appeals to international    3   Ritchie later that day, September 29th, 2016, you say,
 4   traders, as well"?                                         4   "Hey, Our business is actually 'Newfane Design, Inc.
 5       A. I believe that Speedtrader, and I could be          5   dba Warrior Trading.'"
 6   mistaken, but I believe that they were not accepting       6          Do you see that?
 7   U.S. -- sorry -- international traders. And                7       A. I do.
 8   Speedtrader was a discount broker, so they had lower       8       Q. Does that refresh your recollection as to
 9   commissions than E*Trade or Ameritrade, and so just        9   whether you would have reviewed the draft agreement
10   from a commission standpoint, SureTrader was more         10   when Mr. Ritchie sent it?
11   interesting for international traders than maybe          11       A. I think I had asked Jeff to review it, who
12   E*Trade or TD Ameritrade, and Speedtrader wasn't an       12   was handling more day-to-day operations.
13   option.                                                   13       Q. And Jeff was employed at Warrior Trading?
14       Q. Is Guy Gentile copied on this e-mail?              14       A. Yes.
15       A. No, I don't believe so.                            15       Q. And then do you also see where you wrote, "We
16       Q. And if we go down...                               16   will add non-solicitation to U.S. residents clause to
17          We looked at some of this before. If we go         17   rebate page"?
18   down to the second page, the Bates at the end of this     18       A. Yes.
19   is 478. At the top of this page, second page of the       19       Q. And then if we look down a little further, at
20   exhibit, at the top, do you see the "Hey, Justin"...      20   5:07 p.m., it looks like Mr. Ritchie sends a revised
21          This is on September 25th, 2016. You wrote,        21   draft, and then at 5:07 p.m. on September 29th, 2016,
22   "We will make the note that this offer is only valid      22   looks like you forward the draft to Jeff at Warrior
23   for international traders (non U.S. residents)."          23   Trading and Alex at warriortrading.com. Do you see
24          Do you see that?                                   24   that?
25       A. I do.                                              25       A. It's not on the screen in front of me yet,

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 1       Q. Okay. And then it looks like there's some           1   but I see you scrolling down. I said, "Can you
 2   back and forth. Do you see where on September 29th,        2   review."
 3   2016, farther down on the same page, where Justin          3       Q. All right. And then it looks like Jeff
 4   writes, "Hi, Ross," and then he says, "The agreements      4   writes back. Do you see where Jeff says, "FYI, the
 5   used would be more"...                                     5   agreement as-is expires in one year"? Do you see that?
 6          Sorry. Down 47.                                     6       A. I do.
 7          "The agreements use would be more for use" --       7       Q. And he says, "Need to address this for both
 8   that might be "us," I'm not sure -- "to outline the        8   Speedtrader and" -- it looks like short trader
 9   parameters of marketing, i.e., not intended for U.S.       9   misspelled. Do you see that?
10   persons."                                                 10       A. I do.
11          Do you see that?                                   11       Q. Then at the top of the next page, which is
12       A. Yes.                                               12   stamped 49, do you see -- I won't read the whole thing.
13       Q. And then at the bottom of this page, do you        13   I think it's stamped 49. But do you see what appears
14   see where Mr. Ritchie on September 29th, 2016 at 11:57    14   to be an excerpt from the draft marketing agreement
15   a.m. writes, "Please see attached agreement outlining     15   that Mr. Ritchie had sent?
16   the co-marketing nature of our relationship. I assumed    16       A. Yes.
17   the legal name to be Warrior Trading, LLC."               17       Q. Okay. And just this is about -- the title of
18          Do you see that?                                   18   this is "Non-Solicitation of U.S. Investors," do you
19       A. I do.                                              19   see that?
20       Q. Do you recall whether Mr. Ritchie -- and look      20       A. Yeah.
21   at the top of the next page -- whether Mr. Ritchie did,   21       Q. And then it looks like Jeff writes -- well,
22   in fact, send you an agreement?                           22   he's referring to something above this block, but then
23       A. It appears that he did.                            23   he writes as well, "We need to have it pretty clear
24       Q. And do you recall reviewing that agreement         24   this is for non U.S. folks only."
25   when he sent it?                                          25           Do you see that?

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 1       A. I do.                                               1   zeros, and 52.
 2       Q. He says, "Other than that, good to go once we       2          So this is -- this follows immediately prior
 3   add in the disclaimer per the terms of the agreement."     3   in your production from the e-mail string we were just
 4           Do you see that?                                   4   looking at. If you want to take a look, we can scroll
 5       A. I do.                                               5   through it a little bit. We may have looked at the
 6       Q. One second.                                         6   same or a very similar thing marked a different exhibit
 7           Just quickly back in that block quote that         7   earlier, but do you recall this Marketing Services
 8   was pulled out here and reproduced in an e-mail that       8   Agreement?
 9   you're on, it says in part, "Marketing agent agrees not    9       A. Yes.
10   to directly or indirectly engage in the solicitation of   10       Q. And do you see where on the first page, under
11   U.S. investors."                                          11   "Purpose and Scope," the agreement says, "Swiss America
12           Do you see that?                                  12   desires to engage marketing agent and marketing agents
13       A. I see it.                                          13   qualified to and desires to provide certain marketing
14       Q. So when Jeff flags that in the draft that had      14   services to Swiss America for non United States
15   been sent to you, is it your understanding that that's    15   investors"? Do you see that?
16   what you were agreeing to under this arrangement?         16       A. I do.
17       A. I'm not sure that I carefully read this whole      17       Q. I think you testified earlier that Warrior
18   paragraph, but what I understood was that we need to be   18   Trading wasn't receiving any payment as part of this
19   clear on the website, which we sought approval from       19   agreement from SureTrader; is that right?
20   SureTrader, that this is for non U.S. residents. I        20       A. That's correct.
21   understood that was important, that they are not          21       Q. And we can look back if we want. I can
22   soliciting U.S. residents and they're looking for         22   even -- I can represent to you that initially, you
23   international customers.                                  23   asked -- you asked Mr. Ritchie to make clear that there
24       Q. And then it looks like here at the bottom of       24   was no compensation due to Warrior Trading for this
25   page, what's stamped WARRIORSEC_49, scroll down, you      25   arrangement. Is that your recollection?

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 1   write back -- after a few more edits, it looks like you    1       A. It is.
 2   write back, "Excellent. See signed page attached.          2       Q. So if we look at this first page here, 52,
 3   Agreed to in full."                                        3   paragraph four, "Compensation, None. Swiss America
 4           Do you see that?                                   4   agrees to offer marketing agent's non U.S. residents
 5        A. I do.                                              5   students a discounted commission rate in accordance
 6        Q. What was the date of that e-mail?                  6   with the rates and the terms set forth in Exhibit A."
 7        A. October 4th, 2016.                                 7           Do you see that?
 8        Q. And I think you testified earlier that that        8       A. I do.
 9   was -- there was no prior agreement with SureTrader;       9       Q. So does this refresh your recollection that
10   right?                                                    10   this was a draft of the agreement -- or I should say
11        A. Correct.                                          11   the agreement that was sent after you suggested the
12        Q. At the end of this exhibit, WARRIORSEC_50,        12   compensation be revised?
13   that's your signature under "Marketing Agent"?            13       A. It does look to be correct.
14        A. Yes.                                              14       Q. Okay. If we go to the next page,
15        Q. And "Agreed to pages 1 through 4 in full," do     15   WARRIORSEC_53, "Regulatory Issues," do you see that
16   you recall writing that?                                  16   paragraph?
17        A. No, but I see that it's written there and         17       A. I do.
18   it's in my handwriting.                                   18       Q. That paragraph states, "Marketing agent will
19        Q. Looking at this now, do you have any reason       19   abide by all reasonable policies and instructions which
20   to doubt that you wrote that at the time?                 20   all" --
21        A. No.                                               21           (Interruption by the court reporter.)
22           MR. HALPIN: If we could look at Exhibit 2...      22           MR. HALPIN: I apologize. Trying to go
23           (Deposition Exhibit 2 marked for                  23   quickly, but I know you need to get it down. I'll
24   identification.)                                          24   restart.
25        Q. BY MR. HALPIN: This is WARRIORSEC, lot of         25           So we're looking at paragraph A

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 1   WARRIORSEC_53, "Marketing agent will abide by all         1   identification.)
 2   reasonable policies and instructions which are or may     2       Q. BY MR. HALPIN: So this appears to be an
 3   from time to time established by Swiss America or         3   e-mail from you to Mr. Ritchie on October 4th, 2016 at
 4   deemed necessary by Swiss America to comply with all      4   7:53 p.m. Do you see that?
 5   applicable laws, rules, and regulations (laws),           5       A. I do.
 6   including, but not limited to, any regulations            6       Q. Do you recall sending this e-mail?
 7   promulgated by the United States Securities and           7       A. I don't recall it, but I see it, and it's
 8   Exchange Commission."                                     8   from my e-mail account, so I'm reading it now, and it
 9          Do you see that, Mr. Cameron?                      9   looks like it's certainly something I sent.
10      A. I do.                                              10       Q. And do you recall whether this would have
11      Q. Do you see the next sentence, "Specifically,       11   been sent after the contract we were just discussing
12   marketing agent warrants and represents that it has      12   had been signed?
13   reviewed, understands, and agrees to comply with         13       A. The timestamp, I don't recall the timestamp
14   Exchange Act 15a-6, 17 C.F.R. section 240.15a-6(a)(1)    14   of the previous ones, but was it earlier in the day?
15   and relevant SEC guidance regarding the                  15       Q. I can represent to you this is WARRIORSEC_49.
16   non-solicitation of United States investors."            16   You wrote, "Excellent. See signed page attached.
17          Do you see that?                                  17   Agreed to in full." That was Tuesday, October 4th,
18      A. I do.                                              18   2016 at 10:03 a.m.
19      Q. And we can move to the next page,                  19       A. Okay.
20   WARRIORSEC_54, and do you see -- I draw your attention   20       Q. Does that refresh your recollection?
21   to paragraph F, "Non-Solicitation of U.S. Investors."    21       A. Yeah, it does.
22          Do you see that?                                  22       Q. So this e-mail that we're looking at,
23      A. I do.                                              23   Exhibit 4, WARRIORSEC_42, that was sent after you had
24      Q. Does that paragraph -- is that paragraph the       24   signed the agreement?
25   one that Jeff reproduced in his e-mail to you?           25       A. Yes.

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 1       A. It looks very similar to it, if not the same.      1       Q. Okay. And it looks like here, if we go to
 2       Q. And if we go down a little further on this         2   the next page, October 5th, 2016 at 3:51 p.m., you
 3   page, Exhibit A, titled "Services and Duties of           3   write Mr. Ritchie, you say...
 4   Marketing Agent," do you see that?                        4           Or, do you recall sending this e-mail to Mr.
 5       A. I do see this.                                     5   Ritchie?
 6       Q. Okay. It says, "Subject to the terms and           6       A. I do recall the conversation about the
 7   conditions of this agreement, Swiss America retains       7   hurricane or the storm, yeah.
 8   marketing agent as a marketing agent for Swiss America    8       Q. And you wrote, "Can you approve this page"
 9   to market Swiss America's brokerage services to           9   there's a URL, "and this image for our use? We will
10   international non U.S. investors, and marketing agent    10   make this program valid for non U.S. residents who join
11   accepts such engagement."                                11   after 10-1-2016. Is that okay?"
12           Do you see that?                                 12           Do you see that?
13       A. I do.                                             13       A. I do.
14       Q. The next sentence, "Marketing agent shall use     14       Q. Then do you see, it looks like you pasted an
15   its best efforts to market the brokerage services of     15   image below in this e-mail. Do you see that?
16   Swiss America to potential new brokerage customers to    16       A. I do.
17   its international non U.S. website visitors."            17       Q. It's a little -- it might be a little
18           Do you see that?                                 18   difficult. If we scroll down a little bit and maybe
19       A. I do.                                             19   zoom in a little bit, I want to draw your attention to
20       Q. Is this your recollection? Is this                20   the dark box with the white writing at the bottom.
21   consistent with the agreement that you signed?           21           That's a little better. Can you see that?
22       A. Yes.                                              22       A. Yes.
23           MR. HALPIN: You can take it down.                23       Q. And does that language anywhere include the
24           All right. Let's go to Exhibit 4.                24   phrase "not intended for U.S. persons"?
25           (Deposition Exhibit 4 marked for                 25       A. I'm reading it.

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 1       Q. Take your time.                                     1      Q. Okay. And you say, "Hi all, On Thursday at
 2       A. No, I don't see that it says that.                  2   1 p.m. we're going to running a live webinar and will
 3       Q. If we can scroll down a little bit, an e-mail       3   be promoting the SureTrader rebate program for all of
 4   from Mr. Ritchie to you, October 10th, 2016, Mr.           4   our international buyers."
 5   Ritchie writes, "The link below is giving me a 404         5          Do you see that?
 6   error message. Note that banner should say 'Not            6      A. I do.
 7   intended for U.S. persons.' This is what our legal and     7      Q. It looks like you attached -- it says
 8   compliance team advised us to use in our advertising       8   "Attachment: SureTrader banner.jpg."
 9   material. Could you resend, please."                       9          Do you see that?
10          Do you see that?                                   10      A. I do.
11       A. I do.                                              11      Q. If we go to the next page, WARRIORSEC_72,
12       Q. And then if we can go down, we're on the next      12   does this look like the JPEG image that was attached to
13   page, WARRIORSEC_44, you write back, also on              13   your e-mail we were just looking at?
14   October 10th, 2016, "Here is updated page with a link.    14      A. It appears so, yeah.
15   We have added 'not intended for U.S. persons' to all      15      Q. And if I can draw your attention to again the
16   images, as requested. You can see below and on the        16   gray box with the white writing at the bottom, what can
17   website."                                                 17   you tell me about that box?
18          Do you see that?                                   18      A. This has the second version, the revised
19       A. I see where I wrote that. I am not able to         19   version with the added disclaimer.
20   see the image yet, but I see.                             20      Q. And what does that disclaimer say?
21       Q. Right. You see where you wrote that, though;       21      A. "Not intended for U.S. persons."
22   right?                                                    22          MR. HALPIN: We can take down Exhibit 5.
23       A. Yes. Okay. Yes.                                    23          Actually, can we pull up Exhibit 7?
24       Q. And actually, if we go back up just for a          24          This is Bates stamped...
25   second, you wrote, "We will promote this rebate program   25          Actually, before we do that, can we do

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 1   during our webinar Thursday, but, yes, date will be        1   Exhibit 9.
 2   from 10-4-16."                                             2           (Deposition Exhibit 9 marked for
 3           Do you see that?                                   3   identification.)
 4      A. I do.                                                4       Q. BY MR. HALPIN: And these e-mails go in
 5      Q. Then we can scroll down to the image, and            5   reverse order. I think the earliest is at the end.
 6   does it appear that in response to Mr. Ritchie's           6           Actually, if we could go to the third page,
 7   request that edits were made to this image?                7   and I'll read the Bates, it's SEC-FL-0848-E-0090670.
 8      A. Yes.                                                 8           And if I can draw your attention to a little
 9      Q. And what was included in this image after Mr.        9   past the middle of the page, this appears to be an
10   Ritchie's request?                                        10   e-mail sent on March 23rd, 2017 from Yaniv Frantz,
11      A. The sentence "Not intended for U.S. persons."       11   yaniv@suretrader.com. Do you see that?
12           MR. HALPIN: All right. We can take this one       12       A. I do.
13   down.                                                     13       Q. Do you recall receiving this e-mail?
14           We'll pull up Exhibit 5.                          14       A. I don't recall.
15           (Deposition Exhibit 5 marked for                  15       Q. If we look up just a little bit, there
16   identification.)                                          16   appears to be a response from team@warriortrading.com
17      Q. BY MR. HALPIN: This is WARRIORSEC_71. This          17   later that day, March 23rd, 2017, signed "Let me know,
18   appears to be an e-mail from you to Mr. Ritchie on        18   Ross."
19   October 11th, 2016, so the day following the e-mail       19           Do you see that?
20   that we just looked at. Do you see that?                  20       A. I do.
21      A. I do.                                               21       Q. Does that refresh your recollection as to
22      Q. Do you recall sending this e-mail?                  22   whether you would have received the earlier e-mail from
23      A. Again, this is an e-mail from October 2016.         23   Mr. Frantz?
24   I don't recall it, but I am reading it here, and it       24       A. This is the team box, so this may have been
25   looks familiar, so I'm sure I sent it.                    25   an e-mail that I sent. I don't recall this e-mail. I

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 1   recall the other one, but I don't recall this one, but     1           Do you see that at the top?
 2   I obviously see it right here.                             2       A. What is it at the top that you're looking at?
 3       Q. Were you aware of anyone with access to the         3       Q. Sorry. Do you see that it's an e-mail from
 4   team@warriortrading.com account ever signing your name     4   team@warriortrading.com on March 23rd, 2017?
 5   in responding to an e-mail?                                5       A. I do.
 6       A. Yeah, that probably did happen. It was --           6       Q. In this e-mail, it's signed, "Thank you,
 7   yeah, I'm sure that that happened before.                  7   Ross." Does this also look like something you might
 8       Q. If we could scroll back down to Mr. Frantz's        8   have sent from team@warriortrading.com?
 9   e-mail, it says, "Good day, Warrior Trading.               9       A. Sure, yeah.
10   SureTrader senior management has decided to stop any      10       Q. And you write in the second paragraph, "We
11   prior deal moving forward, as we made it clear that we    11   will continue to make it clear students cannot use this
12   are not endorsing to solicit for U.S. customers on our    12   discount program if they are U.S. residents."
13   behalf, as mentioned on our website."                     13           Do you see that?
14          Do you see that?                                   14       A. I do.
15       A. I do.                                              15           MR. HALPIN: Okay. We can take that one
16       Q. He continues, "We will continue to welcome         16   down.
17   non U.S. persons as we've done from day one, and for      17           We can pull up Exhibit 7.
18   future deals, you should simply refer your students to    18           (Deposition Exhibit 7 marked for
19   our U.S. sister company, StockUSA."                       19   identification.)
20          Do you see that?                                   20       Q. BY MR. HALPIN: And this is Bates stamped
21       A. I do.                                              21   SEC-FL-03848-E-0000830, and, Mr. Cameron, do you recall
22       Q. Do you know what StockUSA is?                      22   testifying earlier about a review that you had done, a
23       A. I think that was Speedtrader.                      23   review that appeared on your website regarding
24       Q. If we go back up -- or if we go to the             24   SureTrader?
25   preceding page, Bates stamp ending in 69, it looks like   25       A. Yes.

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 1   further on in this chain, on March 23rd, 2017 at           1       Q. And do you recall testifying that it may have
 2   7:50 p.m., there's an e-mail from                          2   been -- that you weren't sure whether you had written
 3   team@warriortrading.com, and the response is, "Okay,       3   the review?
 4   that makes sense. So to clarify this page, $1 trade        4       A. That's correct.
 5   rebate program up to full pricing expiring in three        5       Q. If we could flip to the last page of this
 6   months is valid for non U.S. residents only."              6   exhibit ending Bates 835...
 7          Do you see that?                                    7          Scroll down a little bit. Yeah.
 8       A. I do.                                               8          Do you see, I guess a little past the middle
 9       Q. Do you recall writing this e-mail? It's also        9   of the page, at the end of the paragraph that starts
10   signed, "Talk soon, Ross."                                10   with "SureTrader actually"?
11          Do you see that?                                   11       A. Um-hmm.
12       A. I do. I don't recall sending it, but it            12       Q. Do you see it says, "This review is written
13   looks familiar.                                           13   by Ed"?
14       Q. And then it also says, "This page is for U.S.      14       A. I do.
15   residents, $1 per trade with Speedtrader/StockUSA," and   15       Q. Who is Ed?
16   there's a hyperlink. Do you see that?                     16       A. He was an employee of Warrior Trading.
17       A. I do.                                              17       Q. Okay. So does this refresh your
18       Q. And then below, "We ran webinar today              18   recollection...
19   promoting SureTraders for our international traders and   19          And you can take your time and you can scroll
20   reminded U.S. traders this promotion is not for them."    20   through the entire review, but does this refresh your
21          Do you see that?                                   21   recollection that you had -- you may not have drafted
22       A. I do.                                              22   this review initially?
23       Q. On the first page of this exhibit, the Bates       23       A. Can you scroll up on it?
24   ending in 68, again this is an e-mail from                24       Q. Sure.
25   team@warriortrading.com, March 23rd, 2017, 8:20 p.m.      25       A. Yeah, keep going.

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 1          Okay. So I think this is one version of the         1          THE WITNESS: Should I answer the question?
 2   review, and I think that the version that we looked at     2          MR. MORGAN: Yes.
 3   earlier was possibly a later version that had some         3          THE WITNESS: I felt at that time that
 4   contributions that I had added, but yeah. So I think       4   SureTrader was not honoring the agreement that we had
 5   it was started by Ed, first draft, first version, and      5   put together in the broker rebate pricing, and that was
 6   then added to maybe by me at some point.                   6   going to cause a problem, because we had been telling
 7       Q. If we can go back to the final page that we         7   students, this was your price, these were the group
 8   were just looking at...                                    8   rates, and now those prices were no longer valid, and
 9          And do you see right beneath where it says,         9   that was going to be a bit of a problem for us.
10   "This review was written by Ed," do you see a date?       10      Q. BY MR. HALPIN: Do you recall when the
11       A. Yes.                                               11   revised review of SureTrader was posted on your
12       Q. And what date is that?                             12   website?
13       A. January 16th -- sorry -- January 25th, 2016.       13      A. I don't recall exactly, but I would think it
14       Q. So this was prior to any agreement with            14   would have been following the change in commission and,
15   SureTrader; is that correct?                              15   I guess, decision not to grandfather in and maintain
16       A. Yes.                                               16   that agreement that we had created.
17       Q. And I think you testified...                       17      Q. Would that have been in early 2017, if you
18          We can take that down now.                         18   remember?
19          I think you testified earlier regarding some       19      A. Yes.
20   back and forth you had had with Drameko Moore and maybe   20      Q. Okay. So in early `17, just to be clear, you
21   Justin Ritchie about the commission structure at          21   would have posted the revised SureTrader review on your
22   SureTrader. Do you recall testifying about that?          22   website?
23       A. Yes.                                               23      A. I believe so.
24       Q. And do you recall that was in February, maybe      24          MR. HALPIN: Okay. And if we could pull up
25   March of 2017?                                            25   Exhibit 8...

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 1       A. Okay.                                               1           (Deposition Exhibit 8 marked for
 2       Q. And do you recall -- you recall also                2   identification.)
 3   testifying, and I think this was your word, that after     3       Q. BY MR. HALPIN: And after you posted that
 4   those interactions, you felt you had to unwind the         4   revised review in early 2017, did you still feel like
 5   program relatively quickly?                                5   you were promoting SureTrader to potential customers?
 6       A. Yes.                                                6       A. So I guess, for me, it's hard to
 7       Q. So what was your understanding of how long          7   differentiate between promoting the broker rebate
 8   any agreement Warrior Trading had with SureTrader was      8   program that we had for international customers and
 9   in place?                                                  9   speaking more generally about SureTrader as a tool that
10       A. Well, I know that we just looked at the            10   I had used, but we were still promoting it as a tool.
11   e-mail that said it was a one-year agreement, as per      11   We still had our review, it was still a good tool, but
12   the written contract. I think the way I looked at it      12   the pricing made it a little less competitive than it
13   was that we were sending them traffic or leads and it     13   had been in the past.
14   was helping students, and I didn't really see that this   14       Q. Is it fair to say that your revised review
15   was going to be changing, like, in the middle of a        15   was not marketing that you undertook pursuant to the
16   term, or I didn't really see a reason why it would be     16   agreement that you had signed with them, that it was
17   terminated. But, yeah, I guess my understanding of it     17   outside of that agreement?
18   was, it was a one-year initial term, and then it would    18       A. I would say it was outside the agreement, and
19   probably just continue on as long as it was working       19   I'm not an attorney, but I would say that because the
20   well for everybody.                                       20   agreement, to me, was really dictating the broker
21       Q. Okay. So when you said that you felt you had       21   rebate program, that specific program.
22   to unwind it in February, March of 2017, you still        22       Q. Okay. And we pulled up Exhibit 8. It's
23   thought, though, that the agreement was proceeding well   23   stamped WARRIORSEC_77. This looks like there's an
24   in Warrior Trading's view?                                24   e-mail from Mr. Frantz, July 17th, 2017, and then it
25           MISS JOHNSON: Objection.                          25   appears you forwarded to Jeff at Warrior Trading and

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 1   Alex at warriortrading.com. Do you see that?               1   e-mail of that same date, July 17th, where he says,
 2        A. I do.                                              2   "I'm writing you today in regards to a new review I
 3        Q. You say, "referring probably to our updated        3   noticed that you posted about SureTrader"?
 4   review where we no longer recommend." Do you see that?     4       A. Yes.
 5        A. I do.                                              5       Q. Does that refresh your recollection as to
 6        Q. And were you referring there to the updated        6   when this new review was posted on your website?
 7   review that you posted in early 2017?                      7          MR. HALPIN: Objection.
 8        A. Yes.                                               8          THE WITNESS: Yes, more or less.
 9           MR. HALPIN: Okay. We can take that exhibit         9       Q. BY MISS JOHNSON: And when more or less was
10   down.                                                     10   that?
11           Is everyone amenable to maybe a ten-minute        11       A. It was certainly following the change in
12   break? I don't know that I have a lot more, but if        12   pricing, which occurred in or around March, I think is
13   it's convenient now, it's a good time for me to break.    13   what we saw in the e-mails, if I'm not mistaken. So it
14           MISS JOHNSON: That's fine with me.                14   would have been sometime after that, and, I don't know,
15           THE VIDEOGRAPHER: The time is 5:51 p.m.           15   maybe it took him a little while before he noticed it
16   Going off the record.                                     16   when he e-mailed in July. I'm not sure if it was --
17                                  (Recess.)                  17   how recently we had changed it from when that e-mail
18           THE VIDEOGRAPHER: Back on the record. The         18   came in, but it had certainly been at least within the
19   time is now 6:01 p.m.                                     19   last couple of months, I'd say.
20        Q. BY MR. HALPIN: Mr. Cameron, thanks again for      20       Q. Couple months of July 17th?
21   your time. I just have a few more questions.              21       A. Yes.
22        A. Okay.                                             22          MISS JOHNSON: Okay. Thank you. That's all
23        Q. Mr. Cameron, you never agreed with Mr.            23   I have.
24   Gentile to solicit U.S. investors on SureTraders'         24          MR. MORGAN: All right.
25   behalf in violation of U.S. law; correct?                 25          THE VIDEOGRAPHER: That concludes today's

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 1      A. That's correct.                                      1 deposition. It is March 14th, 2023. The time is now
 2           MISS JOHNSON: Objection.                           2 6:04 p.m. Off the record.
 3      Q. BY MR. HALPIN: And you never agreed with any         3       (Deposition concluded at 6:04 p.m. (ET).
 4   other SureTrader employee to solicit U.S. investors in     4       (Signature requested.)
 5   violation of U.S. law; correct?                            5
 6           MISS JOHNSON: Objection.                           6
 7           THE WITNESS: Correct.                              7
 8      Q. BY MR. HALPIN: And you're not aware of               8
 9   anyone else at Warrior Trading entering into any           9
10   unlawful agreement to solicit U.S. investors; is that     10
11   correct?                                                  11
12      A. That's correct.                                     12
13           MR. HALPIN: Thank you. I have no further          13
14   questions.                                                14
15           MISS JOHNSON: I just have one on redirect.        15
16           Could you call up Exhibit 43 again, please,       16
17   plaintiff's exhibit.                                      17
18                 FURTHER EXAMINATION                         18
19   BY MISS JOHNSON:                                          19
20      Q. While we're reviewing this, this is the             20
21   e-mail that you had sent to Jeff and Alex on July 17th,   21
22   2017 saying, "referring probably to our updated review    22
23   where we no longer recommended them." Do you see that?    23
24      A. Yes.                                                24
25      Q. And you're responding to Yaniv Frantz's             25

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 1             CERTIFICATE OF WITNESS                           1               ERRATA SHEET
                                                                2   Deposition of: ROSS PIERCE CAMERON
 2                                                                  Date taken: MARCH 14, 2023
 3                                                              3   Case: SEC v. MINTBROKER INTERNATIONAL, LTD., et al.
                                                                4   PAGE LINE
 4     I, ROSS PIERCE CAMERON, do hereby declare under              _____ _____ CHANGE: _______________________________
 5     penalty of perjury that I have read the entire           5          REASON: _______________________________
                                                                6   _____ _____ CHANGE: _______________________________
 6     foregoing transcript of my deposition testimony,                    REASON: _______________________________
 7     or the same has been read to me, and certify that        7
                                                                    _____ _____ CHANGE: _______________________________
 8     it is a true, correct and complete transcript of         8          REASON: _______________________________
 9     my testimony given on March 14, 2023, save and           9   _____ _____ CHANGE: _______________________________
                                                                           REASON: _______________________________
10     except for changes and/or corrections, if any, as       10
11     indicated by me on the attached Errata Sheet, with           _____ _____ CHANGE: _______________________________
                                                               11          REASON: _______________________________
12     the understanding that I offer these changes and/or     12   _____ _____ CHANGE: _______________________________
13     corrections as if still under oath.                                 REASON: _______________________________
                                                               13
14       _____ I have made corrections to my deposition.            _____ _____ CHANGE: _______________________________
15       _____ I have NOT made any changes to my deposition.   14          REASON: _______________________________
                                                               15   _____ _____ CHANGE: _______________________________
16                                                                         REASON: _______________________________
17   Signed: ___________________________                       16
                                                                    _____ _____ CHANGE: _______________________________
         ROSS PIERCE CAMERON                                   17          REASON: _______________________________
18                                                             18   _____ _____ CHANGE: _______________________________
                                                                           REASON: _______________________________
19   Dated this ________ day of ______________ of 20____.      19
20                                                                  _____ _____ CHANGE: _______________________________
                                                               20          REASON: _______________________________
21                                                             21   _____ _____ CHANGE: _______________________________
22                                                                         REASON: _______________________________
                                                               22
23                                                                  _____ _____ CHANGE: _______________________________
24                                                             23          REASON: _______________________________
25                                                             24   Signed_____________________________
                                                               25   Dated______________________________

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 1             REPORTER'S CERTIFICATE
 2
 3   I, DIANE M. BOLAN, Certified Shorthand Reporter No.
 4   12883, in and for the State of California, do hereby
 5   certify:
 6   That prior to being examined, the witness named in the
 7   foregoing deposition was by me duly sworn to testify
 8   the truth, the whole truth, and nothing but the truth;
 9   That said deposition was taken down by me in shorthand
10   at the time and place therein named and thereafter
11   reduced to typewriting under my direction, and that the
12   foregoing transcript contains a full, true and verbatim
13   record of the said deposition.
14   I further certify that I have no interest in the event
15   of the action.
16            DATED this 15th day of March, 2023.
17
18
19
20            ____________________________________
21             DIANE M. BOLAN, CSR No. 12883
22
23
24
25

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       6   That prior to being examined, the witness named in the
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       8   the truth, the whole truth, and nothing but the truth;
       9   That said deposition was taken down by me in shorthand
      10   at the time and place therein named and thereafter
      11   reduced to typewriting under my direction, and that the
      12   foregoing transcript contains a full, true and verbatim
      13   record of the said deposition.
      14   I further certify that I have no interest in the event
      15   of the action.
      16                  DATED this 15th day of March, 2023.
      17
      18
      19
      20                       ____________________________________
      21                          DIANE M. BOLAN, CSR No. 12883
      22
      23
      24
      25
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